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1     MARIO N. ALIOTO (56433)
      LAUREN C. CAPURRO (241151)
2     TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
      2001 Union Street, Suite 482
3
      San Francisco, CA 94123
4     Telephone: (415) 563-7200
      Facsimile: (415) 346-0679
5     E-mail: malioto@tatp.com
      laurenrussell@tatp.com
6
      Lead Counsel for the Indirect Purchaser Plaintiffs
7

8                                 UNITED STATES DISTRICT COURT

9                              NORTHERN DISTRICT OF CALIFORNIA
10                                         OAKLAND DIVISION
11

12      IN RE: CATHODE RAY TUBE (CRT)                      Master File No. 07-cv-05944-JST
        ANTITRUST LITIGATION                               Case No. 17-cv-04067-JST
13
                                                           MDL No. 1917
14
        This Document Relates to:                          DECLARATION OF MARIO N.
15                                                         ALIOTO IN SUPPORT OF INDIRECT
        Luscher, et al. v. Mitsubishi Electric Corp.,      PURCHASER PLAINTIFFS’ MOTION
16      17-cv-04067-JST                                    FOR PRELIMINARY APPROVAL OF
                                                           CLASS ACTION SETTLEMENT WITH
17                                                         DEFENDANT MITSUBISHI ELECTRIC
18                                                         CORPORATION

19                                                         Hearing Date: September 22, 2022
                                                           Time: 2:00 p.m.
20                                                         Courtroom: 6, 2nd Floor
                                                           Judge: Honorable Jon S. Tigar
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1            I, Mario N. Alioto, declare:

2            1.      I am an attorney duly licensed by the State of California and am admitted to

3     practice before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott,

4     LLP and my firm serves as the Court-appointed Lead Counsel for the Indirect Purchaser

5     Plaintiffs (“IPPs”) in the above-captioned action. I submit this Declaration in support of the IPPs’

6     Motion for Preliminary Approval of Class Action Settlement with Defendant Mitsubishi Electric

7     Corporation (“Mitsubishi Electric”), filed herewith. The matters set forth herein are within my

8     personal knowledge and if called upon and sworn as a witness I could competently testify

9     regarding them.

10           2.      Attached hereto as Exhibit A is a true and correct copy of the Settlement

11    Agreement entered into by IPPs and Mitsubishi Electric on October 25, 2017. Attached to the
12
      Settlement Agreement is the executed Addendum to the Settlement Agreement dated February
13
      13, 2018. IPPs’ settlement with Defendant Mitsubishi Electric is referred to as the “Proposed
14
      Settlement.”
15
             3.      The $33,000,000 Settlement Amount, plus interest, is referred to as the
16

17    “Settlement Fund.” Pursuant to the parties’ agreement, this amount has already been paid into

18    escrow and has been accruing interest for the benefit of Class members.
19    Procedural History
20           4.      The Luscher action and the MDL actions assert similar allegations of an
21
      international conspiracy to fix the prices of CRTs from March 1, 1995 through November 25,
22
      2007. IPPs filed their original complaints in various federal courts throughout the country in late
23
      2007 and early 2008. The JPML transferred all related actions to this Court on February 15,
24

25    2008, where they were coordinated with similar actions filed by direct purchaser plaintiffs

26    (“DPPs”). ECF No. 122. On May 9, 2008, the Court appointed Mario N. Alioto of Trump,

27    Alioto, Trump & Prescott, LLP as Interim Lead Class Counsel for the IPPs. ECF No. 282.
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                                                  2
       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1     Mitsubishi Electric was not named as a defendant in any of these early complaints, including

2     IPPs’ first three consolidated amended complaints (“CACs”) in the MDL. See ECF Nos. 437,
3
      716, 827. Mitsubishi Electric’s CRT market share was very small and it was not a named target
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      of the DOJ’s investigation, or of any foreign government’s investigation into the alleged CRT
5
      conspiracy. In addition, Chunghwa, the DOJ’s amnesty applicant with which IPPs settled in April
6
      2009—and which provided IPPs with substantial cooperation, including an oral proffer regarding
7

8     the CRT conspiracy— did not implicate Mitsubishi Electric.

9            5.      Nonetheless, IPPs continued to investigate Mitsubishi Electric’s involvement in
10    the CRT conspiracy and entered into a tolling agreement with Mitsubishi Electric in early
11    November 2011. Pursuant to the tolling agreement, Mitsubishi Electric produced its CRT and
12    CRT Product sales data to IPPs.
13           6.      IPPs’ Fourth CAC, filed on January 10, 2013, named Mitsubishi Electric as a co-
14    conspirator. ECF. No. 1526. In order to hold the other Defendants jointly and severally liable for
15    the damages caused by Mitsubishi Electric, IPPs had to prove its participation in the CRT
16    conspiracy.
17           7.      As part of IPPs’ motion for class certification in the litigation against the other
18    Defendants, IPPs’ expert, Dr. Netz, included Mitsubishi Electric’s CRT sales data in her analyses
19    of pass-through and damages to the indirect purchaser classes. ECF No. 1388. Class Counsel also
20    analyzed evidence of Mitsubishi Electric’s participation in the CRT conspiracy. Following
21    multiple rounds of briefing, this Court adopted the Reports and Recommendations of Interim
22    Special Master Martin Quinn 1 and certified 22 statewide classes of indirect purchasers of CRTs.
23    CRT, 2013 WL 5391159 (N.D. Cal. Sept. 23, 2013). The Ninth Circuit Court of Appeals denied
24    the Defendants’ petition to appeal pursuant to Fed. R. Civ. P. 23(f). ECF No. 2283.
25           8.      In late 2013 and 2014, several Direct Purchaser Plaintiffs (“DAPs”) and the DPPs
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       In re Cathode Ray Tube (CRT) Antitrust Litig., No. 07-cv-5944-JST, MDL No. 1917, 2013 WL
28    5429718 (N.D. Cal. June 20, 2013).
                                                  3
       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1     filed suit against Mitsubishi Electric and certain subsidiaries. See, e.g., Interbond Corporation of

2     America v. Technicolor SA (f/k/a Thomson SA), et al., Case No. 13-cv-05727-JST; Crago, d/b/a

3     Dash Computers, Inc., et al. v. Mitsubishi Electric Corporation, et al., Case No. 14-CV-2058-

4     JST. The Court granted in part and denied in part Mitsubishi Electric’s motion to dismiss various

5     DAP complaints. ECF No. 2439. Mitsubishi Electric and its subsidiaries became formal parties to

6     the CRT MDL, and IPPs received the documents and data they produced in discovery.

7               9.     The DAPs and DPPs also deposed several Mitsubishi Electric witnesses. IPP

8     Counsel assisted in reviewing, translating and selecting exhibits for many of these depositions,

9     and attended the depositions and/or reviewed the transcripts.

10              10.    In 2014 and early 2015, IPPs and certain DAPs were preparing for trial, originally

11    scheduled to begin on March 9, 2015. 2 The parties exchanged expert reports on liability and

12    damages from April 2014 through September 2014. These included opening, opposition, rebuttal

13    and sur-rebuttal reports from 17 expert witnesses—including Mitsubishi Electric’s expert,

14    Professor Dennis W. Carlton. All of these experts were deposed, often multiple times, regarding

15    their reports. Dr. Netz included Mitsubishi Electric CRT data and documents in her analyses of

16    pass-through and damages to the indirect purchaser classes.

17              11.    On November 7, 2014, the Defendants (including Mitsubishi Electric and its

18    subsidiaries) filed 36 motions for summary judgment. See ECF No. 4071-1, Ex. 11 (list of

19    summary judgment motions). Eleven of these were directed specifically against IPPs’ claims.

20    Mitsubishi Electric and its subsidiaries also filed summary judgment motions against the DAPs’

21    claims. ECF Nos. 3033-4, 3037. Around the same time, the parties exchanged trial exhibit lists,

22    witness lists, deposition designations, jury instructions, and special verdict forms, and filed 64

23    motions in limine and other pretrial motions.

24              12.    In compiling the trial exhibits and designating deposition testimony, IPP Counsel

25    worked closely with the DAPs to assess the evidence of Mitsubishi Electric’s participation in the

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      2
28        By Order dated February 9, 2015, the Court vacated the trial date (Dkt. No. 3515).
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1     CRT conspiracy. IPP Counsel prepared a memorandum detailing the evidence of Mitsubishi

2     Electric’s participation in the conspiracy. IPP Counsel also participated in mock trials during

3     which evidence of Mitsubishi Electric’s participation in the CRT conspiracy was presented to

4     mock juries.

5             13.    In early 2015, after the summary judgment motions were fully briefed, IPPs

6     entered into their original settlements with the Philips, Panasonic, Hitachi, Toshiba, and Samsung

7     SDI Defendants. Consequently, these defendants withdrew their summary judgment motions,

8     motions in limine, and other pretrial motions relating to the IPP case pending final approval of

9     their settlements. IPPs also entered into settlements with the Thomson/Technicolor defendants in

10    June 2015. These original settlements were approved on July 7, 2016 (ECF No. 4712).

11            14.    After final approval of IPPs’ settlements, the Court ruled upon many of the

12    Defendants’ summary judgment motions as they related to the DAPs’ claims against Defendants.

13    The Court granted the motion of two Mitsubishi Electric subsidiaries (ECF No. 4559) and denied

14    the motion of Mitsubishi Electric (ECF No. 5128).

15            15.    IPPs filed their complaint against Mitsubishi Electric on July 20, 2017. Unlike the

16    earlier IPP complaints, the complaint against Mitsubishi Electric did not allege a nationwide

17    class, but did allege indirect purchaser claims under the laws of 30 states and the District of

18    Columbia on behalf of 31 statewide classes—nine more than were certified during the litigation

19    against the other defendants.

20            16.    With the assistance of Judge Corley, the IPPs and Mitsubishi Electric reached a

21    settlement, and they executed their settlement agreement on October 25, 2017.

22            17.    The parties executed the addendum to the settlement agreement on February 13,

23    2018.

24            18.    On February 6, 2020, pursuant to stipulated order (ECF No. 5679), IPPs filed their

25    First Amended Complaint against Mitsubishi Electric. ECF No. 5687. The First Amended

26    Complaint substituted new named plaintiffs for the States of Hawaii, New Mexico, and New

27    Hampshire, and conformed the class definition to the Settlement Class definition agreed to by

28    IPPs and Mitsubishi Electric Corp. in their settlement agreement. See ECF No. 5679.
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1            19.     Together with counsel for Mitsubishi Electric, I deferred renewing the motion for

2     approval of this Settlement until the Prior Settlements were final because that finality resolved

3     issues relating to this Settlement.

4     The Proposed Settlement

5            20.     The Proposed Settlement resolves all claims against Mitsubishi Electric for its

6     alleged part in the alleged global conspiracy to fix prices of CRTs.

7            21.     The Proposed Settlement Class is limited to the thirty-one jurisdictions that the

8     parties identified as “Indirect Purchaser Jurisdictions.” The named plaintiffs include at least one

9     representative from each of the Indirect Purchaser Jurisdictions.

10           22.     The Proposed Settlement Class is defined to conform to the requirements of the

11    applicable state laws. The proposed Settlement Class is defined as follows:

12                   (a)     All persons or entities who or which indirectly purchased in an Indirect

13           Purchaser Jurisdiction, other than Missouri, Montana, and Rhode Island, for their own use

14           and not for resale, CRTs or CRT Products manufactured and/or sold by any Mitsubishi

15           Electric Releasee, or any Alleged Co-Conspirator, where such purchase took place during

16           the following time periods:

17                           1)      From March 1, 1995 through November 25, 2007 for purchases in

18                   Arizona, Arkansas, California, District of Columbia, Florida, Iowa, Kansas,

19                   Maine, Massachusetts, Michigan, Minnesota, Mississippi, New Hampshire, New

20                   Mexico, New York, North Carolina, North Dakota, Oregon, South Carolina, South

21                   Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin;

22                           2)      From June 25, 2002 through November 25, 2007 for purchases in

23                   Hawaii;

24                           3)      From July 20, 2002 through November 25, 2007 for purchases in

25                   Nebraska;

26                           4)      From February 4, 1999 through November 25, 2007 for purchases

27                   in Nevada;

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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1                    (b)     All persons who or which indirectly purchased in Missouri from March 1,

2            1995 through November 25, 2007, for their own use and not for resale, and primarily for

3            personal, family or household purposes, CRTs or CRT Products manufactured and/or sold

4            by any Mitsubishi Electric Releasee, or any Alleged Co-Conspirator;

5                    (c)     All persons who or which indirectly purchased in Montana from March 1,

6            1995 through November 25, 2007, for their own use and not for resale, and primarily for

7            personal, family or household purposes, CRTs or CRT Products manufactured and/or sold

8            by any Mitsubishi Electric Releasee, or any Alleged Co-Conspirator;

9                    (d)     All natural persons who indirectly purchased in Rhode Island from March

10           1, 1995 through November 25, 2007, for their own use and not for resale, and primarily

11           for personal, family, or household purposes, CRTs or CRT Products manufactured and/or

12           sold by any Mitsubishi Electric Releasee, or any Alleged Co-Conspirator;

13                   (e)     Specifically excluded from the Settlement Class are Mitsubishi Electric

14           Releasees, Alleged Co-Conspirators, any federal, state or local government entities, and

15           any judicial officer presiding over this action and the members of his/her immediate

16           family and judicial staff.

17    Ex. A, Settlement Agreement ¶ 10 (as amended by Addendum, described below).

18           23.     The parties agreed to amend the Settlement Class definition by an Addendum to

19    Settlement Agreement. See Ex. A, attached hereto. The amended settlement class definition is

20    consistent with the consumer protection statutes in Missouri, Montana, and Rhode Island, which

21    require that the product at issue must have been purchased “primarily for personal, family, or

22    household purposes.” Mo. Rev. Stat. §407.025; MCA §30-14-102, §30-14-133; R.I. Gen. Stat.

23    §6-13.1-5.2. See also In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 516 F.

24    Supp. 2d 1072, 1116 (N.D. Cal. 2007) (citing ERI Max Entertainment, Inc. v. Streisand, 690

25    A.2d 1351, 1354 (R.I. 1997)) (“the Rhode Island Supreme Court has construed the UTPCPA to

26    require that only natural persons are permitted to bring private rights of action under the statute,

27    which natural persons must have ‘purchase[d] or lease[d] goods or services primarily for

28    personal, family, or household purposes.’”). The amendments are also consistent with the
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1     allegations of the original Complaint (17-cv-04067-JST, ECF No. 1), ¶¶ 277-278, 285. For the

2     Court’s convenience, we have included the executed Addendum to the Settlement Agreement in

3     Exhibit A hereto.

4            24.     The Proposed Settlement Class is the same in substance to the settlement class this

5     Court approved on July 13, 2020. ECF No. 5786. It is also the same in substance to the 22

6     statewide classes certified during the litigation. See CRT, 2013 WL 5391159 (N.D. Cal. Sept. 23,

7     2013). The only difference is that this Proposed Settlement Class includes individuals and

8     businesses who purchased CRTs or CRT Products in nine additional state classes that were not

9     included in the Prior Settlement class and were not previously eligible to file claims in the Prior

10    Settlements. The nine states are included in the Mitsubishi Electric Settlement Class because (1) I

11    entered into a tolling agreement with Mitsubishi Electric that tolled the statute of limitations on

12    all class member claims, and (2) viable plaintiffs were willing to represent these additional state

13    classes.

14           25.     The settlement negotiations with Mitsubishi Electric were hard-fought and highly

15    adversarial. The settlement was reached only after extensive, arm’s-length negotiations between

16    counsel for the Mitsubishi Electric and IPPs. These negotiations took place over many months.

17    They involved multiple telephone conferences, an in-person meeting attended by counsel for all

18    parties and representatives of Mitsubishi Electric from the United States and Japan, and an in-

19    person mediation before Magistrate Judge Corley. The final settlement was the product of this

20    mediation before Judge Corley and indeed, was the result of a mediator’s proposal.

21           26.     Under the Proposed Settlement, Mitsubishi Electric has paid Thirty-Three Million

22    Dollars ($33,000,000) in cash to settle all indirect purchaser claims against the Mitsubishi

23    Electric Releasees (defined in the Settlement Agreement). The Settlement Amount has been

24    deposited into an escrow account and has been invested in United States Treasury bills and other

25    instruments insured or guaranteed by the full faith and credit of the United States. If the Proposed

26    Settlement is finally approved, any interest earned thereon (together with the Settlement Amount,

27    net of taxes and escrow expenses) will become part of the Settlement Fund. See Ex. A ¶¶ 25-26.

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1            27.     In addition to monetary consideration, the Proposed Settlement contains

2     cooperation provisions requiring Mitsubishi Electric to authenticate documents and data used in

3     the prosecution of any continuing litigation. See Ex. A ¶ 31. The cooperation provisions are

4     material and valuable terms of the Settlement, which could be triggered in the continued

5     litigation against the Irico defendants.

6            28.     If the Proposed Settlement becomes final, IPPs and class members will release all

7     federal and state-law claims against Mitsubishi Electric “concerning the manufacture, supply,

8     distribution, sales or pricing of CRTs or CRT Products. . . .” The release does not include claims

9     for product defect, personal injury or breach of contract not related to the subject matter of the

10    Complaint. In addition, the Proposed Settlement does not release claims arising under the laws of

11    any jurisdiction not included in the Indirect Purchaser Jurisdictions. See Ex. A ¶¶ 22-23.

12           29.     As explained above, the Proposed Settlement was informed by almost ten years of

13    vigorous litigation in the CRT MDL, where the case was fully developed for trial.

14           30.     I negotiated this Proposed Settlement on behalf of IPPs after extensive pre-filing

15    investigation, class certification, full discovery, the exchange of expert reports on liability and

16    damages, the filing of oppositions to defense motions for summary judgment, and other rigorous

17    and fact-intensive motions.

18           31.     I and my co-counsel had reviewed and analyzed millions of documents produced

19    by Mitsubishi Electric, the other Defendants, and third parties; had taken (or participated in

20    taking) over 100 depositions of defense witnesses—including Mitsubishi Electric witnesses; and,

21    had conducted extensive economic analyses of the data produced by Mitsubishi Electric, the

22    other Defendants, and third parties.

23           32.     I and my co-counsel also participated in three mock trials and observed 11 mock

24    juries. IPPs were fully prepared to try this case to a jury.

25           33.     As a result of the work done by me and my co-counsel, I negotiated the Proposed

26    Settlement with detailed knowledge of the factual and legal issues underlying the parties’ claims

27    and defenses, and a firm understanding of the strengths and weaknesses of those claims and

28    defenses.
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
                    FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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1             34.     Based on my extensive experience in indirect purchaser antitrust litigation, and my

2      knowledge of the knowledge of the evidence and legal claims and defenses in this case, I believe

3      that the Proposed Settlement is an excellent result for the class. The $33 million, all-cash

4      settlement is consistent with the amounts obtained in previously approved settlements with the

5      other, similarly situated Japanese defendants. See Final Approval Order (ECF No. 5786), 5587-1

6      at 25-26 (amended Toshiba Settlement for approx. $28.4 million), 5587-1 at 19-20 (amended

7      Hitachi Settlement for approx. $26.5 million). Further, the Mitsubishi Electric settlement amount

8      is 5.6% of the total $580,750,000 Settlement Fund, which is roughly proportional to Mitsubishi

9      Electric’s less-than 5% market share.

10            35.     When combined with the Prior Settlement amounts, the total recovery for indirect

11     purchasers is, to date, $580,750,000. In the context of indirect purchaser price-fixing cases, I

12     believe this total recovery is significant. Recent litigation on behalf of indirect purchasers of

13     Lithium-Ion Batteries and Optical Disk Drives garnered $106,950,000, and $205,000,000

14     respectively. 3 The indirect LCD case is one of the rare cases to recover more than this case.

15     However, the LCD conspiracy started more recently (i.e., 2001) and fewer producers had exited

16     the industry than in this case. The LCD conspiracy was therefore easier to prove because

17     evidence and witnesses were available. In addition, most of the LCD defendants had pled guilty

18     to Sherman Act violations and admitted that their conduct had an impact in the United States,

19     leading to criminal fines totaling $894 million. Here, the conspiracy period started over 20 years

20     ago (i.e., 1995), many of the alleged participants were bankrupt or no longer existed, and

21     employees had moved on, retired, or could not remember relevant facts; only one defendant pled

22     guilty to fixing prices of one type of CRT, and only for sales to certain customers; and the DOJ’s

23     single criminal fine of $32 million amounted to less than 3.5 percent of the fines assessed in

24     connection with LCD conspiracy.

25

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       3
27      See In re Lithium Ion Batteries Antitrust Litig., 4:13-md-02420-YGR (N.D. Cal.), ECF No.
       2566 at 2; In re Optical Disk Drive Products Antitrust Litig., 3:10-md-02143-RS (N.D. Cal.),
28     ECF No. 2852 at 7.
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1             36.     During the MDL, IPPs’ expert, Dr. Netz, estimated single damages to members of

2      the 22 state classes to be $2.78 billion.

3             37.     For the purposes of assessing this Proposed Settlement, Dr. Netz’s estimate must

4      be adjusted to account for the nine additional states included in the Settlement Class. Using the

5      same general data and methodology, we estimate that single damages to class members in the 30

6      states and the District of Columbia would be $3.36 billion. However, I believe that Mitsubishi

7      Electric would have strongly contested IPPs’ damages claims.

8             38.     The other Defendants’ experts opined that indirect purchasers suffered little or no

9      damages as a result of the alleged CRT conspiracy. They maintained that the alleged conspiracy

10     was ineffective and unsuccessful, and that IPPs could not “link” any allegedly agreed-upon CRT

11     price increases to allegedly increased prices of CRT Products purchased by class members. One

12     defense expert estimated the total class damages to be approximately $61 million. Other defense

13     experts maintained that the total class damages were zero.

14            39.     Using the $3.36 billion estimate, the damages attributable to Mitsubishi Electric

15     would be approximately $168 million (5% of $3.36 billion). Thus, the $33 million settlement is

16     approximately 19.6% of the damages attributable to Mitsubishi Electric.

17            40.     Based on my knowledge of the strength of the parties’ claims and defenses, I

18     believe that the risks at trial (and on appeal) for the IPPs would be significant. For example, I

19     believe that Mitsubishi Electric would likely contend, and the jury could agree, that it did not

20     participate in the alleged conspiracy. Among other things, Mitsubishi Electric would likely argue

21     that it did not attend a single “glass” meeting; that it ceased manufacture of CPTs in 1998 and

22     CDTs in 2004; that most of the CDTs it manufactured utilized a different technology and were

23     marketed to different customers than those of the other alleged conspirators; that its market share

24     was very small (less than 5%); and, as a minor player in the market, it had little incentive to join

25     the conspiracy. The Court’s prior ruling precluding use of Samsung SDI’s litigation statements

26     against Mitsubishi Electric would have made IPPs’ case more difficult to prove. ECF No. 4982.

27            41.     I believe Mitsubishi Electric would also likely assert that even if it had

28     participated in the conspiracy, it withdrew when it stopped manufacturing CRTs in 2004. See
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’ MOTION
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1      ECF No. 4786 (granting summary judgment motion of certain Philips defendants on withdrawal

2      grounds). It would likely also contest IPPs’ evidence of antitrust standing, pass-through of the

3      overcharge to indirect purchasers, and class certification. See, e.g., ECF Nos. 3050, 3585

4      (motions filed by the other Defendants).

5               42.     Even assuming a favorable jury verdict at trial, IPPs could prevail on liability and

6      still obtain no net recovery given the large settlement offset ($547,750,000) that would be

7      applied. In LCD, for example, the jury awarded the direct purchaser class plaintiffs $87 million in

8      damages against Toshiba, but they recovered nothing because the award was offset by their $443

9      million obtained in settlements. Likewise, Best Buy recovered nothing at trial against Toshiba

10     and Hannstar. The jury found that Toshiba did not participate in the conspiracy and awarded only

11     $7.5 million against Hannstar. Once Best Buy’s settlements with the other defendants in LCD had

12     been offset, Hannstar owed nothing to Best Buy. Likewise here, if IPPs had gone to trial against

13     Mitsubishi Electric, there would have been an offset of $547,750,000.

14              43.     I have been litigating antitrust and consumer class actions—and specifically

15     indirect purchaser antitrust class actions—for over 40 years. It is my opinion, based on the

16     foregoing, that the Proposed Settlement is in the best interests of the class members.

17     Proposed Plan of Distribution

18              44.     This Court has already approved a weighted pro-rata distribution to claimants for

19     the Prior Settlements. 4 We propose to use the same weighted pro rata distribution for the

20     Mitsubishi Electric Settlement. Settlement Class members who file valid claims will be eligible

21     to receive their pro rata share of the net Mitsubishi Electric settlement fund based on the total

22     number of valid claims filed, and the number and type of CRT Products each claimant

23     purchased. 5 Class members who filed valid claims against the Prior Settlements will

24

25     4
           ECF No. 5786 at 20 (adopting reasoning from original order approving the Prior Settlements).
26     5
         As with the Prior Settlements, claims for Standard CRT Televisions (televisions with a screen
27     size of less than 30 inches) will receive a weight of 1; Large CRT Televisions (televisions with a
       screen size of 30 inches or larger) will receive a weight of 4.3; and CRT Computer Monitors will
28     receive a weight of 3. See CRT, 2016 WL 3648478, at * 18.
                                                 12
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1      automatically receive their pro-rata share of the Mitsubishi Electric settlement without having to

2      re-file their claim. 6 All other class members who submit qualified claim forms will be entitled to

3      recover.

4             45.     We believe that the majority of the new claims against the Mitsubishi Electric

5      Settlement will likely come from class members who purchased CRT Products in the nine states

6      that were not included in the settlement class for the Prior Settlements and were not eligible to

7      file claims against the Prior Settlements. Class members who previously filed claims against the

8      Prior Settlements may amend their claim for the Mitsubishi Electric Settlement to include CRTs

9      purchased in the nine states. Because the claims period for the Prior Settlements is now closed,

10     all such new claims will be paid solely from the Mitsubishi Electric settlement fund.

11            46.     It is expected that there will be sufficient funds to distribute a minimum payment

12     of $10 to valid claimants. The minimum payment amount of $10 represents IPPs’ reasonable

13     estimate at this time; the actual amount cannot be determined until all claims have been

14     processed. The Court’s approval for the minimum payment will be requested when the data from

15     the actual claims process are available. Additionally, as before, subject to the minimum payment,

16     a maximum payment amount of three times the estimated money damages per claimant will

17     apply, although we do not anticipate this will be an issue given the number of existing and

18     anticipated claims.

19            47.     All Settlement Class members who seek payment from the Settlement Fund, and

20     who have not already filed a valid claim in the Prior Settlements or who wish to file claims for

21     additional CRT purchases, will be required to complete a claim form containing: (i) the class

22     member’s contact information; (ii) verification of membership in one of the Statewide Damages

23     Classes; (iii) the number and type of each CRT Product purchased during the class period; and

24     (iv) an attestation under penalty of perjury that the information provided is accurate. The

25

26     6
         All claims processed and approved as part of the Prior Settlements, including late claims, will
27     be considered valid, timely claims for the Mitsubishi Electric Settlement and therefore, eligible to
       automatically receive a full pro-rata share of the Mitsubishi Electric Settlement without having to
28     re-file their claim.
                                                 13
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1      proposed claim form is attached as Exhibit E to the Declaration of Joseph M. Fisher Re:

2      Mitsubishi Notice Program, filed herewith.

3             48.     All claimants will also be subject to auditing and requests for documentation of

4      purchases by the Settlement Administrator. I have instructed the Settlement Administrator to use

5      commercially reasonable efforts to identify and investigate claims.

6      The Settlement Administrator Selection Process

7             49.     I propose that the Court again appoint The Notice Company as the Settlement

8      Administrator for the Proposed Settlement with Mitsubishi Electric.

9             50.     The Notice Company has successfully devised and implemented the Court-

10     approved notice programs and administered the claims for all the Prior Settlements in this litigation.

11     See ECF Nos. 1063, 2511, 3863, 4953-1, 5587-2, 6029. Prior to selecting The Notice Company to

12     oversee this round of notice and settlement administration, my office solicited and received

13     proposals from three nationally recognized class action notice and claims administrators, in

14     addition to The Notice Company. Each proposal included a comparable notice program for a

15     comparable cost.

16            51.     Members of my firm and I have extensive experience with The Notice Company,

17     having now worked with them since 2009 on notice and claims administration for the Prior

18     Settlements. IPP Counsel also engaged The Notice Company to devise a notice program for the

19     Mitsubishi Electric Settlement presented to the Court in connection with the prior motion for

20     preliminary approval in February 2018. Finally, members of my firm and I continue to work

21     extensively with The Notice Company on issues relating to claims administration and the auditing

22     of claims for the Prior Settlements.

23            52.     My partners and I have been impressed throughout these extensive interactions with

24     The Notice Company’s professionalism, responsiveness, and ability to resolve the many complex

25     issues that have arisen in this case. I believe the Class will benefit from The Notice Company’s

26     experience in this litigation administering the Prior Settlements, in that it will help to reduce the

27     costs of administering this settlement.

28
                                                 14
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1      Notice Costs, Attorneys’ Fees And Litigation Expenses

2               53.     The Proposed Settlement provides that IPP Counsel may apply to the Court for an

3      award of attorneys’ fees (not to exceed one-third of the Settlement Fund), and for payment of notice

4      costs 7 and litigation expenses, all of which will come out of the Settlement Fund. Mitsubishi

5      Electric has agreed that up to $3 million of the Settlement Fund can be used for notice costs and

6      the costs of administration, and will not oppose IPP Counsel’s application for attorneys’ fees and

7      litigation expenses so long as the request for attorneys’ fees does not exceed one-third of the

8      Settlement Amount. See, Ex. A, ¶¶ 27, 34.

9               54.     The Proposed Notices (attached as Exhibits B and C to the Fisher Declaration)

10     advise that IPPs intend to apply for attorneys’ fees of one-third of the Settlement Fund

11     ($11,000,000), notice costs, and litigation expenses of approximately $6,703.95. The Notices will

12     further advise class members how to access the fee petition when it is filed. The Proposed Notices

13     also advise that IPPs may apply for individual incentive awards for the indirect purchaser class

14     representatives, most of whom fully participated in the discovery phase of the MDL. These

15     applications will be filed with the Court and posted to the website www.CRTclaims.com at least

16     14 days in advance of the deadline for objections to give class members an opportunity to review

17     the applications and either support or file objections to them.

18              55.     IPP Counsels’ lodestar for work performed in prosecuting the case against

19     Mitsubishi Electric since June 2015 (the cut off for IPPs’ first fee motion) is $2,433,461.66 (3287.1

20     hours). 8 However, as indicated above, the work performed by IPPs during the almost eight years

21

22

23
       7
           The Notice Company provides estimates of the notice costs in the Fisher Decl. ¶ 32.
24
       8
         This lodestar is calculated using IPP Counsel’s current rates and includes all time submitted to
25     me. This lodestar does not include the time spent by IPP Counsel litigating the objections lodged
       by certain putative class members to the Prior Settlements and the resulting appeals, or the
26     negotiation of the amendments to the Prior Settlements and subsequent briefing. Nor does it include
27     any of the time spent litigating against the Irico defendants. The time spent by IPP Counsel on
       these matters over the last five years is significant. If included, this time would substantially
28     increase the lodestar and decrease the multiplier.
                                                 15
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1      of litigation against the other defendants (when Mitsubishi Electric was named as a co-conspirator,

2      but not as a defendant) was crucial to reaching the settlement with Mitsubishi Electric.

3              56.     I anticipate requesting reimbursement of additional out-of-pocket litigation

4      expenses of approximately $6,703.95. Other costs and expenses incurred in prosecuting the case

5      against Mitsubishi Electric (e.g., almost $6 million in expert fees) have already been approved and

6      reimbursed by the Court. See ECF Nos. 5786 at 26, 4071-1 at 46.

7      Class Representatives

8              57.     21 of the 34 class representatives have already been granted $15,000 incentive

9      award, and one has been granted a $5,000 incentive award in connection with the Prior

10     Settlements. See ECF No. 5786 at 26.

11             58.     In connection with the litigation against Mitsubishi Electric and the settlement, the

12     21 original class representatives and the 13 new class representatives have reviewed and

13     approved the original and amended complaints, searched for relevant documents, reviewed and

14     approved the settlement agreement and amendments thereto, stayed in regular contact with their

15     lawyers, and remained apprised of the material developments in the litigation. The class

16     representatives have not, however, had to engage in formal discovery because IPPs settled with

17     Mitsubishi Electric before formal discovery commenced. Accordingly, I intend to propose

18     modest incentive awards of $2,000 for each class representative.

19             59.     The Named Plaintiffs have a genuine interest in the litigation and understand the

20     allegations in this case. The Named Plaintiffs in the MDL reviewed the pleadings and produced

21     documents regarding their purchases. Most of them also responded to written discovery and were

22     deposed by Defendants. They have also reviewed the pleadings against Mitsubishi Electric, the

23     settlement agreement and, in consultation with their lawyers, have approved them on behalf of

24     their respective states.

25     //

26     //

27

28
                                                 16
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1      Past Distributions and Comparisons with Comparable Cases

2               60.     The Proposed Settlement together with the Prior Settlements in this case compare

3      favorably to similar settlements: 9

4           Case                  CRT (IPPs)              DRAM (IPPs)              TFT-LCD (IPPs)
            Total Settlement      $580.75 million         $310.72 million          $1,082 billion
5           Fund                  (including the
6                                 Proposed Settlement)

7           Total Estimated       175 million             175 million              175 million
            Number of Class
8           Members
9           Total Number of       14 million+             0                        0
10          Class Members to
            Whom Direct
11          Notice Was/Will Be
            Sent
12
            Method(s) of Notice Direct notice; indirect   Indirect notice,         Indirect notice,
13
                                notice, including         including broadcast,     including broadcast,
14                              broadcast, digital        digital media, press     digital media and
                                media and press           releases                 press releases
15                              releases
16          Number of Claims      156,467 (prior          445,554 (0.25%)          247,558 (0.14%)
17          Submitted/To be       claims) + 75,000
            Submitted             (estimated new
18                                claims) = 231,467
                                  (0.13%)
19
            Mean Recovery Per $3,034.90                   $423.90                  $3,155
20          End User
21          Claimant 10

22
       9
         This chart shows information relating to settlements in the IPP action, compared to the settlements
23
       in (i) the IPP action in In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. 02-
24     md-1486-PJH (N.D. Cal.); and (ii) the IPP settlements in In re TFT-LCD (Flat Panel) Antitrust
       Litig., No. 07-md-01827-SI (N.D. Cal.). These figures reflect best estimates based on publicly
25     available records.
       10
26       As explained in IPPs’ recent Motion to Distribute Settlement Funds to Claimants, ECF No.
       6025, Reseller claimants, i.e., those who purchased CRTs or CRT Products for resale, were only
27     included in the Chunghwa settlement class, and were only permitted to claim against half of the
       Net Chunghwa Settlement Fund, which is approximately $3.068 million—substantially less than
28     the Net Settlement Funds for the other settlements. This means that Reseller claimants will
                                                 17
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1           Case                CRT (IPPs)               DRAM (IPPs)             TFT-LCD (IPPs)
2           Expected Residual   $0                       $2,053,004.46           $0
3
            Attorneys’ Fees     $140,606,250             $78.3 million (25%)     $309.725 million
4                               (24.2%)                                          (28.6%)
                                ($129,606,250
5                               awarded;
                                $11,000,000 now
6                               requested)
7
            Litigation Costs    $8,460,252.79 (prior     $11.8 million           $8,736,131.43
8                               settlements) 11 +
                                $6,703.95 (proposed
9                               settlement)
10
            Administrative      $4,202,006.62 (prior     $2.834 million          $3,276,539.13
11          Costs               case) 12 + $500,000 -
                                $900,000 (estimated
12                              additional costs) 13 =
                                $4,702,006.62 –
13                              $5,152,006.62
14

15

16

17

18
       receive less for each CRT Product purchased than End-User claimants. See id. at 17, n. 20. The
19     mean recovery for class members who purchased in the nine new states will likewise be less
       because they may only claim against this Proposed Settlement. Because most claimants are End-
20
       User claimants who purchased in the 22 States, IPPs provide the mean recovery for those
21     claimants for the purpose of comparing the mean recovery in this case to other similar indirect
       purchaser cases.
22     11
         See ECF Nos. 5786 at 25, 6040 at 3. $1,886,155.41 of the recently approved $2,330,710.87 in
23     expenditures from the Future Expense Fund were for notice and claims administration expenses.
       See ECF No. 6025-1 & Ex. A. Thus, $789,727.22 of IPPs’ additional expenses are properly
24     categorized as “litigation costs.”
       12
25       See ECF No. 6029-2 (Amended Declaration of Joseph M. Fisher Re: Notice, Claims
       Processing and Distribution of Settlement Funds), ¶ 34 (the Settlement Administrator has billed
26     and been paid $3,602,006.62 to date, and estimates that the remaining work to distribute the Prior
       Settlements to Class Members will cost between $500,000 and $600,000).
27     13
         The Settlement Administrator estimates that the administrative costs for the Proposed
28     Settlement will be approximately $500,000 to $950,000.
                                                 18
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1      CAFA Notice

2             61.     Counsel for Mitsubishi Electric has informed me that, in accordance with the

3      Class Action Fairness Act, 28 U.S.C. §1715 (“CAFA”), they will provide notice of the Proposed

4      Settlement to the Attorney General of the United States and the Attorneys General of all 50 States

5      within ten days of the filing of this motion.

6      Related Agreements

7             62.     Pursuant to Fed. R. Civ. P. 23(e)(2)(C)(iv), and as previously disclosed to the

8      Court, in March and April 2018, four groups of objectors voluntarily dismissed their appeals of

9      the original settlements in exchange for monetary consideration to be paid by IPP Counsel from

10     their attorney fee award. See ECF Nos. 5587 at 9; 6001 at 5, n.5. These agreements were entered

11     into before the enactment of Rule 23(e)(2)(C)(iv), Rule 23(e)(5)(B), and the other amendments to

12     Rule 23(e)(5) in December 2018. Nevertheless, Rule 23(e)(5)(B) now requires court approval of

13     any payment to an objector “in connection with: (i) forgoing or withdrawing an objection, or (ii)

14     forgoing, dismissing, or abandoning an appeal from a judgment approving the proposal.”

15            63.     In addition to providing that the objectors would dismiss their appeals of this

16     Court’s approval of the Prior Settlements, the agreements provide that the objectors would not

17     object to this Settlement. No payment is due to those objectors until the Prior Settlements and all

18     fee proceedings relating to the Prior Settlements are final, at which time Lead Counsel intends to

19     present these settlements to the Court. Attached hereto as Exhibits B - E are true and correct

20     copies of the executed settlement agreements with the objectors to the Prior Settlements.

21

22            I declare under penalty of perjury that the foregoing is true and correct. Executed this

23     18th day of August 2022 at San Francisco, California.

24

25                                                     /s/ Mario N. Alioto
                                                              Mario N. Alioto
26
                                                       Lead Counsel for the Indirect Purchaser Plaintiffs
27

28
                                                 19
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                  EXHIBIT A
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                               SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is made and entered into this_th day of

October, 2017 (the “Execution Date”), by and between Mitsubishi Electric Corporation

(“Mitsubishi    Electric”)    and   the   indirect-purchaser   plaintiff class   representatives

(“Plaintiffs”), both individually and on behalf of a proposed settlement class of indirect

purchasers of Cathode Ray Tube (CRT) Products (“the Settlement Class”) as more

particularly defined below.

       WHEREAS, Plaintiffs have prosecuted claims in In Re Cathode Ray Tube (CRT)

Antitrust Litigation, MDL No. 1917 (N.D. Cal.) (the “MDL”) on their own behalf and on

behalf of other indirect purchaser classes, against other defendant manufacturers of CRTs;

        WHEREAS, Plaintiffs have brought an additional class action, by filing a Class

Action Complaint (the “Complaint”) relating to the MDL claims against Mitsubishi Electric

in Luscher, et al., v. Mitsubishi Electric Corp., No. 17-cv-04067 (N.D. Cal.) (“the Action”);

       WHEREAS, Plaintiffs allege in the Complaint that Mitsubishi Electric participated in

an unlawful conspiracy to raise, fix, maintain, or stabilize the price of CRTs at artificially

high levels in violation of various state antitrust, unfair competition and consumer protection

laws of the jurisdictions alleged in the Complaint, as defined below, and that, as a result of

the alleged CRT conspiracy, Plaintiffs and similarly-situated indirect purchasers of CRT

Products in those jurisdictions paid more for CRT Products than they would have paid in the

absence of the conspiracy;

        WHEREAS, Mitsubishi Electric denies Plaintiffs’ allegations and is prepared to

assert defenses to Plaintiffs’ claims;
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        WHEREAS, Plaintiffs have conducted extensive discovery into the facts and

extensive analysis of the law in the MDL regarding the subject matter of the Complaint and

have concluded that resolving claims against Mitsubishi Electric according to the terms set

forth below is in the best interest of Plaintiffs and the Settlement Class;

        WHEREAS, Plaintiffs and Mitsubishi Electric exchanged their positions regarding

the merits of the case, and have engaged in a mediation conducted with the assistance of

U.S. Magistrate Judge Jacqueline Scott Corley;

        WHEREAS, with Magistrate Judge Corley’s assistance, the parties were able to

reach agreement to resolve the claims of the Plaintiffs and the Settlement Class against

Mitsubishi Electric without further litigation; and

        WHEREAS, Mitsubishi Electric, despite its belief that it is not liable for the claims

asserted and that it has good defenses thereto, has nevertheless agreed to enter into this

Agreement to avoid further expense, inconvenience, and the distraction of burdensome and

protracted litigation, to obtain the releases, orders, and judgment contemplated by this

Agreement, and to put to rest with finality all claims that have been or could have been

asserted against Mitsubishi Electric based on the allegations of the Complaint, as more

particularly set out below;

        NOW, THEREFORE, in consideration of the covenants, agreements, and releases set

forth herein and for other good and valuable consideration, it is agreed by and among the

undersigned that the Complaint and all claims against Mitsubishi Electric be settled,

compromised, and dismissed on the merits with prejudice as to the Mitsubishi Electric

Releasees, as defined below, and except as hereinafter provided, without costs as to



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Plaintiffs, the Settlement Class, or Mitsubishi Electric, subject to the approval of the Court,

on the following terms and conditions:

        A.       Definitions.

        1.       “Alleged Co-Conspirators” shall mean any and all entities alleged in the

Complaint, or later alleged, to have participated in, the improper conduct alleged in the

Complaint, as well as their past and present, direct and indirect, parents, subsidiaries,

affiliates, joint ventures, unincorporated entities, divisions, and groups; the predecessors,

successors and assigns of any of the above; and each and all of the present and former

principals, partners, officers, directors, supervisors, employees, agents, representatives,

insurers, attorneys, heirs, executors, administrators, and assigns of each of the foregoing.

        2.       “Class Period” is defined as alleged in the Complaint, Paragraph 24.

        3.       “Court” shall mean the United States District Court for the Northern District

of California.

        4.       “CRTs” and “CRT Products” are defined as alleged in the Complaint,

Paragraph 21 through 23.

        5.       “Indirect Purchaser Jurisdiction/s” shall mean Arizona, Arkansas, California,

District of Columbia, Florida, Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan,

Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New

Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island, South Carolina,

South Dakota, Tennessee, Utah, Vermont, West Virginia, and/or Wisconsin.

        6.       “Mitsubishi Electric Releasees” means Mitsubishi Electric Corporation and

all of its past and present, direct and indirect, parents, subsidiaries, affiliates, joint ventures,

unincorporated entities, divisions, and groups; the predecessors, successors and assigns of

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any of the above; and each and all of the present and former principals, partners, officers,

directors, supervisors, employees, agents, representatives, insurers, attorneys, heirs,

executors, administrators, and assigns of each of the foregoing. Without limiting the

generality of this definition, the term “Mitsubishi Electric Releasees” shall be interpreted to

include Mitsubishi Electric US, Inc. (MEUS) (f/k/a Mitsubishi Electric & Electronics USA,

Inc.), individually and as successor to Mitsubishi Electronics America, Inc. (MELA);

MELA; Mitsubishi Electric Visual Solutions America, Inc. (MEVSA); Mitsubishi Digital

Electronics America, Inc. (MDEA), individually and as successor to Mitsubishi Consumer

Electronics America, Inc. (MCEA); NEC-Mitsubishi Electric Visual Systems Corporation

(NMV); and NEC-Mitsubishi Electronics Display of America, Inc. (NMDA).

        7.       “Plaintiffs” shall mean the individual class representative plaintiffs listed in

the Complaint.

        8.       “Released Claims” means the claims released under this Settlement

Agreement as defined below in Paragraph 22 of this Agreement.

        9.       “Releasors” means the Plaintiffs and the Settlement Class Members, and their

past and present principals, partners, officers, directors, supervisors, employees, agents.

stockholders, attorneys, servants, representatives, parents, subsidiaries, affiliates, insurers

and all other persons, partnerships or corporations with whom any of the former have been,

or are now, affiliated, and the predecessors, successors, heirs, executives, administrators and

assigns of any of the foregoing, as well as anyone claiming by, for, or through the Releasors.

        10.      “Settlement Class” shall mean:

                         (a)     all persons or entities who indirectly purchased in an Indirect

        Purchaser Jurisdiction, other than Rhode Island, for their own use and not for resale,

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   CRTs or CRT Products manufactured and/or sold by any Mitsubishi Electric

   Releasee, or any Alleged Co-Conspirator, where such purchase took place during the

   following time periods:

                   1) From March 1, 1995 through November 25, 2007 for purchases in

                         Arizona, Arkansas, California, District of Columbia, Florida,

                         Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,

                         Mississippi, Missouri, Montana, New Flampshire, New Mexico,

                         New York, North Carolina, North Dakota, Oregon, South

                         Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia,

                         and Wisconsin;

                  2) From June 25, 2002 through November 25, 2007 for purchases in

                         Hawaii;

                  3) From July 20, 2002 through November 25, 2007 for purchases in

                         Nebraska;

                   4) From February 4, 1999 through November 25, 2007 for purchases

                         in Nevada;

                   (b)       all natural persons who indirectly purchased in Rhode Island

    from March 1, 1995 through November 25, 2007, for their own use and not for

    resale, CRTs or CRT Products manufactured and/or sold by any Mitsubishi Electric

    Releasee, or any Alleged Co-Conspirator;

                   (c)       specifically excluded from the Settlement Class are Mitsubishi

    Electric Releasees, Alleged Co-Conspirators, any federal, state or local government



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       entities, and any judicial officer presiding over this action and the members of his/her

       immediate family and judicial staff.

       11.     “Settlement Class Counsel” shall mean:

                      Mario N. Alioto
                      Trump, Alioto, Trump & Prescott LLP
                      2280 Union Street
                      San Francisco, CA 94123

       12.     “Settlement Class Member” means the Plaintiffs and each member of the

Settlement Class who, after receiving notice of the settlement contemplated by this

Agreement, does not timely elect to be excluded from the Settlement Class.

       B.      Approval of this Agreement and Dismissal of Claims Against Mitsubishi
               Electric.

       13.     Plaintiffs and Mitsubishi Electric shall use their best efforts to effectuate this

Agreement, including cooperating in seeking the Court’s approval for the establishment of

procedures (including the giving of class notice under Federal Rules of Civil Procedure 23(c)

and (e)) to secure the complete and final dismissal with prejudice of the Action, without

undue delay.

       14.     Plaintiffs shall, within a reasonable time after the Execution Date, submit to

the Court a Preliminary Approval Motion or Motions (“Preliminary Approval Motion”),

along with a Proposed Order requesting the following:

                       (a)    directing that proceedings on the Complaint be held in

       abeyance pending consideration of this Agreement, if not already entered;

                       (b)    approving the certification of the Settlement Class.           The

       parties agree to stipulate that the requirements of Rules 23(a) and 23(b)(3) of the

       Federal Rules of Civil Procedure are satisfied as to the Settlement Class;

                                               6
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                       (C)     establishing procedures for the giving of notice to the

       Settlement Class of the Settlement provided for in this Agreement; defining the form

       and content of that notice; setting forth the method and timing of notice; directing

       that the Settlement Class be given notice of the date of the hearing at which the Court

       will consider whether finally to approve this Settlement Agreement; and authorizing

       Settlement Class Counsel to disseminate notice of the settlement and the proposed

       final judgment contemplated by this Agreement to the Settlement Class;

                       (d)     granting preliminary approval to the Agreement; and

                       (e)     setting a schedule for further proceedings in the case,

       including the schedule and procedure for any objections, for any motion for final

       approval of the Agreement, and for a hearing on that motion.

        15.    The text of the Preliminary Approval Motion, its exhibits, and the proposed

form of order shall be agreed upon by Plaintiffs and Mitsubishi Electric before submission to

the Court.

        16.    The Preliminary Approval Motion shall recite and ask the Court to find that

the proposed form of and method for dissemination of the notice of settlement constitutes

valid, due and sufficient notice to the Settlement Class, constitutes the best notice practicable

under the circumstances, and complies fully with the requirements of due process, Federal

Rule of Civil Procedure 23, and any applicable state laws.

        17.    If notice to the Settlement Class is given jointly with a notice of settlement(s)

with any other settling defendant, for purposes of Paragraph 27 below, the costs of notice

and claims administration shall be prorated with any other such defendant based on their

respective settlement amounts.

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       18.     Notice to the Settlement Class shall advise the persons and entities in the

Settlement Class of their right to seek exclusion from the Settlement Class, contain the date

by which all requests for exclusion must be submitted (“Opt-out Deadline”), and set forth the

procedure for requesting exclusion.

       19.     Thereafter, in accordance with a schedule established by the Court, Plaintiffs

shall file a motion in which they may seek the entry of an order and final judgment (“Final

Approval Motion”) to secure the complete, and final dismissal with prejudice of the

Complaint, without undue delay, as to Mitsubishi Electric only. The Final Approval Motion

shall include a proposed form of order. The text of the Final Approval Motion, its exhibits,

and the proposed form of order shall be agreed upon by Plaintiffs and Mitsubishi Electric

before submission of the Motion. The proposed order and final judgment sought in the Final

Approval Motion will include, at a minimum, the substance of the following provisions:

                       (a)    as to the Complaint, approving finally this settlement and its

       terms as being a fair, reasonable and adequate settlement as to the Settlement Class

       Members within the meaning of Rule 23 of the Federal Rules of Civil Procedure and

       directing its consummation according to its terms;

                       (b)    as to Mitsubishi Electric, directing that the Complaint be

       dismissed with prejudice and, except as provided for in this Agreement, without costs

       and expenses;

                       (c)    directing Settlement Class Counsel to implement this

       Settlement Agreement, including administering and distributing the settlement to the

       Settlement Class;



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                        (d)      reserving exclusive jurisdiction over the settlement and this

       Agreement, including the administration and consummation of this settlement, to the

       Court, which shall be exclusive to the extent permitted by law; and

                        (e)      determining under Federal Rule of Civil Procedure 54(b) that

       there is no just reason for delay and directing entry of final judgment of dismissal as

       to Mitsubishi Electric.

       20.     This Agreement shall become final when (i) the Court has entered a final

order approving this Agreement under Federal Rule of Civil Procedure 23(e) and a final

judgment dismissing the Complaint with prejudice as to Mitsubishi Electric against all

Settlement Class Members and without costs other than those provided for in this

Agreement, and (ii) the time for appeal or to seek permission to appeal from the Court's

approval of this Agreement and entry of a final judgment as to the Mitsubishi Electric

described in (i) hereof has expired or, if appealed, approval of this Agreement and the final

judgment as to Mitsubishi Electric have been affirmed in their entirety by the court of last

resort to which such appeal has been taken and such affirmance is no longer subject to

further appeal or review. It is agreed that the provisions of Rule 60 of the Federal Rules of

Civil Procedure shall not be taken into account in determining the above-stated times. On the

Execution Date, Plaintiffs and Mitsubishi Electric shall be bound by the terms of this

Agreement, and this Agreement shall not be rescinded except in accordance with Paragraph

36 of this Agreement.

       21.     Neither this Agreement (whether or not it should become final) nor the final

judgment, nor any and all negotiations, documents and discussions associated with them,

shall be deemed or construed to be an admission by Mitsubishi Electric (or the Mitsubishi

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Electric Releasees) or evidence of any violation of any statute or law or of any liability or

wrongdoing whatsoever by Mitsubishi Electric (or the Mitsubishi Electric Releasees), or of

the truth of any of the claims or allegations contained in the Complaint or any pleading by

Plaintiffs filed in the MDL, and evidence thereof shall not be discoverable or used directly or

indirectly, in any way, whether in the MDL or in any other action or proceeding. Neither this

Agreement, nor any of its terms and provisions, nor any of the negotiations or proceedings

connected with it, nor any other action taken to carry out this Agreement by any of the

settling parties shall be referred to, offered as evidence or received in evidence in any

pending or future civil, criminal, or administrative action or proceedings, other than in a

proceeding to enforce this Agreement, or to defend against the assertion of Released Claims,

or as otherwise required by law.

       C.      Release. Discharge, and Covenant Not to Sue.

       22.     In addition to the effect of any final judgment entered in accordance with this

Agreement, upon this Agreement becoming final as set out in Paragraph 20 of this

Agreement, and in consideration of payment of the Settlement Amount, as specified in

Paragraph 25 of this Agreement, and for other good and valuable consideration identified in

this Agreement, the Releasors shall completely release, acquit, and forever discharge the

Mitsubishi Electric Releasees from any and all claims, demands, judgments, actions, suits,

causes of action, whether class, individual, or otherwise (whether or not any Settlement

Class Member has objected to the settlement or makes a claim upon or participates in the

Settlement Fund, whether directly, representatively, derivatively, or in any other capacity)

that Releasors, or each of them, ever had, now has, or hereafter can, shall, or may have on

account of, or in any way arising out of, any and all known and unknown, foreseen and

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unforeseen, suspected or unsuspected, actual or contingent, liquidated or unliquidated

claims, injuries, damages, and consequences thereof in any way arising out of or relating in

any way to any act or omission of the Mitsubishi Electric Releasees (or any of them) or any

other entity concerning the manufacture, supply, distribution, sale, or pricing of CRTs or

CRT Products up to the Execution Date, and concerning any conduct alleged or that could

have been alleged by Releasors, or causes of action asserted or that could have been asserted

by Releasors, regarding the CRT conspiracy alleged in the Complaint (that is, any

conspiracy concerning the manufacture, supply, distribution, sale, or pricing of CRTs,

whether sold separately or as part of CRT Products), arising under any federal law or under

the laws of any Indirect Purchaser Jurisdiction (whether state antitrust, unfair competition,

unfair practices, price discrimination, unitary pricing, unjust enrichment, contract, or trade

practice or any other law of those jurisdictions) (the “Released Claims”). Releasors shall

not, after the Execution Date, sue or otherwise seek to establish liability against any

Mitsubishi Electric Releasee based, in whole or in part, upon any of the Released Claims or

conduct at issue in the Released Claims, except that Releasors reserve the right, in pursuing

claims in the MDL against defendants other than the Mitsubishi Electric Releasees, to assert

that Mitsubishi Electric participated in the alleged conspiracy to fix prices. However, this

paragraph shall not preclude Plaintiffs from pursuing any and all of their claims against other

defendants, excepting the Mitsubishi Electric Releasees, for the sale of CRTs or CRT

Products by those other defendants, or any subsidiary or affiliate thereof, or their alleged co­

conspirators, including claims against those other defendants for sales of CRTs or CRT

Products manufactured by Mitsubishi Electric.



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          23.   The release, discharge, and covenant not to sue set forth in Paragraph 22 of

this Agreement does not include claims by any of the Settlement Class Members other than

the Released Claims. For example, those provisions do not include Settlement Class

Members’ claims arising out of product liability, personal injury, or breach of contract not

related to the subject matter of the Complaint, or claims arising under the laws of any

jurisdiction not included in the Indirect Purchaser Jurisdictions. The release, discharge, and

covenant not to sue set forth in Paragraph 22 of this Agreement also does not include claims

by any person or entity that is not a member of the Settlement Class.

          24.   In addition to the provisions of Paragraph 22 of this Agreement,

Releasors hereby expressly waive and release, upon this Agreement becoming final, any and

all provisions, rights, and benefits conferred by § 1542 of the California Civil Code, which

states:

                CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE.
                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                WITH THE DEBTOR;

or by any law of any state of the United States, or principle of common law, which is similar,

comparable, or equivalent to § 1542 of the California Civil Code and applicable to the

Settlement Class Members. Each Releasor may hereafter discover facts other than or

different from those which he, she, or it knows or believes to be true with respect to the

claims which are the subject matter of the provisions of Paragraph 22 of this Agreement, but

each Releasor hereby expressly waives and fully, finally, and forever settles and releases.

upon this Agreement becoming final, any known or unknown, suspected or unsuspected,

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contingent or non-contingent claim with respect to the subject matter of the provisions of

Paragraph 22 of this Agreement, whether or not concealed or hidden, without regard to the

subsequent discovery or existence of such different or additional facts.

       D.      Settlement Amount.

       25.     Subject to the provisions hereof, and in full, complete and final settlement of

the matters asserted in the Complaint as provided herein, Mitsubishi Electric shall pay

$33,000,000 (the “Settlement Amount”) into an escrow account in United States Dollars to

be administered in accordance with the provisions of Paragraph 26 of this Agreement (the

“Escrow Account”).      Mitsubishi Electric shall deposit the Settlement Amount into the

Escrow Account within thirty (30) days after the later of (i) the Execution Date or (ii) the

parties’ execution of the Escrow Agreement described in Paragraph 26.            The amount

deposited into the Escrow Account, plus any interest on that amount, less any expenses

authorized to be paid from the Escrow Account, shall constitute the “Settlement Fund.”

       26.     Escrow Account.

               (a)     The Escrow Account will be established pursuant to an Escrow

Agreement with a bank agreed upon by Plaintiffs and Mitsubishi Electric, with such Bank

serving as escrow agent (“Escrow Agent”) subject to escrow instructions mutually

acceptable to Settlement Class Counsel and Mitsubishi Electric, such escrow to be

administered under the Court’s continuing supervision and control.

               (b)     The Escrow Agent shall cause the funds deposited in the Escrow

Account to be invested in short-term instruments backed by the full faith and credit of the

United States Government or fully insured in writing by the United States Government, or

money market funds rated Aaa and AAA, respectively by Moody's Investor Services and

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Standard and Poor’s, invested substantially in such instruments, and shall reinvest any

income from these instruments and the proceeds of these instruments as they mature in

similar instruments at their then current market rates. Mitsubishi Electric will bear no risk of

loss regarding the funds in the Escrow Account and shall discharge completely its obligation

to pay under this Agreement by paying the Settlement Amount to the Escrow Account, as

required in Paragraph 25.

               (c)       All funds held in the Escrow Account shall be deemed and considered

to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court,

until such time as such funds shall be distributed pursuant to this Agreement and/or further

order(s) of the Court.

               (d)       Plaintiffs and Mitsubishi Electric agree to treat the Settlement Fund as

being at all times a qualified settlement fund within the meaning of Treas. Reg. § 1.468B-1.

In addition, the Escrow Agent shall timely make such elections as necessary or advisable to

carry out the provisions of this Paragraph 26, including the relation-back election (as defined

in Treas. Reg. §1.468B-1) back to the earliest permitted date. Such elections shall be made in

compliance with the procedures and requirements contained in such regulations. It shall be

the responsibility of the Escrow Agent to timely and properly prepare and deliver the

necessary documentation for signature by all necessary parties, and thereafter to cause the

appropriate filing to occur.

               (e)       For the purpose of § 468B of the Internal Revenue Code of 1986, as

amended, and the regulations promulgated thereunder, the administrator shall be the Escrow

Agent. The Escrow Agent shall timely and properly file all informational and other tax

returns necessary or advisable with respect to the Settlement Fund (including without

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limitation the returns described in Treas. Reg. § 1.468B-2(k)(l)). Such returns (as well as the

election described in Paragraph 26 (d)) shall be consistent with Paragraph 26 (d) and in all

events shall reflect that all Taxes, as defined below (including any estimated Taxes, interest

or penalties), on the income earned by the Settlement Fund shall be paid out of the

Settlement Fund as provided in Paragraph 26 (f) hereof.

               (f)     All (i) taxes (including any estimated taxes, interest or penalties)

arising with respect to the income earned by the Settlement Fund, including any taxes or tax

detriments that may be imposed upon Mitsubishi Electric or any other Mitsubishi Electric

Releasee with respect to any income earned by the Settlement Fund for any period during

which the Settlement Fund does not qualify as a qualified settlement fund for federal or state

income tax purposes (“Taxes”); and (ii) expenses and costs incurred in connection with the

operation and implementation of Paragraphs 26 (d) through 26 (f) (including, without

limitation, expenses of tax attorneys and/or accountants and mailing and distribution costs

and expenses relating to filing (or failing to file) the returns described in this Paragraph 26

(f) (“Tax Expenses”)), shall be paid out of the Settlement Fund.

               (g)     Neither Mitsubishi Electric nor any other Mitsubishi Electric Releasee

nor their respective counsel shall have any liability or responsibility for the Taxes or the Tax

Expenses. Taxes and Tax Expenses shall be treated as, and considered to be, a cost of

administration of the Settlement Fund and shall be timely paid by the Escrow Agent out of

the Settlement Fund without prior order from the Court and the Escrow Agent shall be

obligated (notwithstanding anything herein to the contrary) to withhold from distribution to

any claimants authorized by the Court any funds necessary to pay such amounts including

the establishment of adequate reserves for any Taxes and Tax Expenses (as well as any

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amounts that may be required to be withheld under Treas. Reg. § 1.468B-2(1)(2)). Neither

Mitsubishi Electric nor any other Mitsubishi Electric Releasee is responsible nor shall they

have any liability therefor. Plaintiffs and Mitsubishi Electric agree to cooperate with the

Escrow Agent, each other, and their tax attorneys and accountants to the extent reasonably

necessary to carry out the provisions of Paragraphs 26 (d) through 26 (f).

               (h)     If this Agreement does not receive final court approval, then the

Settlement Fund shall be returned to Mitsubishi Electric from the Escrow Account by the

Escrow Agent within thirty (30) calendar days.

       27.     Payment of Expenses.

               (a)     Subject to the proration provision in Paragraph 17, Mitsubishi Electric

agrees to permit use of a maximum of $3,000,000 of the Settlement Fund towards reasonable

notice to the Settlement Class and the costs of administration of the Settlement Fund set

forth in Paragraphs 14 and 19. The $3,000,000, or the lesser prorated amount under

Paragraph 17, in reasonable notice and administration expenses are not recoverable by

Mitsubishi Electric if this Agreement does not become final pursuant to Paragraph 20, to the

extent such funds are expended for notice and administration costs. Other than as set forth in

this Paragraph 27 (a), each party shall be liable for its own costs or expenses of the litigation

of the Action, including attorneys’ fees; fees and expenses of expert witnesses and

consultants; and costs and expenses associated with discovery, motion practice, hearings

before the Court or any Special Master, appeals, trials or the negotiation of other settlements.

               (b)     If Settlement Class Counsel have entered or subsequently enter into

any other settlements on behalf of the Settlement Class, or some or all of their members,

before notice of this Agreement is given to the Settlement Class, Settlement Class Counsel

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shall use reasonable efforts to provide a single notice to prospective class members of all of

the settlements.

        E.      The Settlement Fund.

        28.     Releasors shall look solely to the Settlement Fund for settlement and

satisfaction against the Mitsubishi Electric Releasees of all Released Claims, and shall have

no other recovery against Mitsubishi Electric or any other Mitsubishi Electric Releasee,

directly or indirectly.

        29.     After this Agreement becomes final within the meaning of Paragraph 20, the

Settlement Fund shall be distributed in accordance with a plan to be submitted at the

appropriate time by Plaintiffs, subject to approval by the Court. In no event shall Mitsubishi

Electric or any Mitsubishi Electric Releasee have any responsibility, financial obligation, or

liability whatsoever with respect to the investment, distribution, or administration of the

Settlement Fund, including, but not limited to, the costs and expenses of such distribution

and administration, with the sole exception of the provisions set forth in Paragraph 27 (a) of

this Agreement. Mitsubishi Electric shall be dismissed from the Action prior to any

distribution of this Settlement Fund.

        30.     Plaintiffs and Settlement Class Counsel shall be reimbursed and indemnified

solely out of the Settlement Fund for all expenses. Mitsubishi Electric and the other

Mitsubishi Electric Releasees shall not be liable for any costs, fees, or expenses of any of

Plaintiffs’ or the Settlement Class’s respective attorneys, experts, advisors, agents, or

representatives, but all such costs, fees, and expenses as approved by the Court shall be paid

out of the Settlement Fund.



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       F.      Cooperation

       31.     Upon execution of the Agreement, Mitsubishi Electric shall reasonably

cooperate with Settlement Class Counsel as set forth specifically below:

               (a)     Mitsubishi Electric shall provide Settlement Class Counsel with

copies of all discovery (including among other things, all documents, interrogatories,

requests for admission, etc.) Mitsubishi Electric produces to any other party in the MDL, to

the extent this discovery has not already been provided to Settlement Class Counsel;

               (b)     Mitsubishi Electric agrees to provide a declaration to establish, to the

best of its ability, the foundation and authenticity of Mitsubishi Electric’s transactional data.

In addition, Mitsubishi Electric agrees to provide a declaration to establish, to the best of its

ability, the foundation of any Mitsubishi Electric document or data Settlement Class Counsel

identifies as necessary for summary judgment and/or trial in the MDL;

               (c)     If any document protected by the attorney-client privilege, attorney

work product protection, joint defense or any other protection, privilege, or immunity is

accidentally or inadvertently produced under this Paragraph, the document shall promptly be

destroyed and/or returned to Mitsubishi Electric, and its production shall in no way be

construed to have waived any privilege or protection attached to such document;

               (d)     Releasors and Settlement Class Counsel agree they will not use the

information provided by Mitsubishi Electric or the Mitsubishi Electric Releasees or their

representatives under this paragraph for any purpose other than the pursuit of the MDL, and

will not publicize the information beyond what is reasonably necessary for the prosecution

of the MDL or as otherwise required by law. Any documents and other information provided




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will be deemed “Highly Confidential’' and subject to the protective order entered in the MDL

as if they had been produced in response to discovery requests and so designated;

               (e)    Notwithstanding any other provision in this Agreement, Plaintiffs

agree that they and Settlement Class Counsel shall maintain all statements made by

Mitsubishi Electric's counsel as strictly confidential; and that they shall not use directly or

indirectly the information so received for any purpose other than the prosecution of the

MDL. The parties and their counsel further agree that any statements made by Mitsubishi

Electric's counsel in connection with and/or as part of this settlement, shall be protected by

Federal Rule of Evidence 408, and shall in no event be discoverable by any person or treated

as evidence of any kind.

       G.      Requests for Exclusion

       32.     The Notice of the settlement provided pursuant to Paragraphs 14 (c) and 18

shall advise members of the Settlement Class of their right, pursuant to Federal Rule of Civil

Procedure 23, to request exclusion (“opt out”) from the Settlement Class and shall advise

members of the Settlement Class of the procedure for requesting exclusion from the

Settlement Class and the Opt-Out Deadline. Subject to Court approval, any person or entity

seeking exclusion from the Settlement Class must file a written request for exclusion by the

Opt-Out Deadline. The notice of settlement and final judgment to be disseminated to the

Settlement Class will require that all written requests for exclusion include the full name,

address and telephone number of the member of the Settlement Class who is seeking

exclusion, and a statement that the member wishes to be excluded from the Settlement Class.

Any person or entity that files a valid request for exclusion shall be excluded from the

Settlement Class and shall have no rights with respect to this settlement.

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       33.     Subject to Court approval, a request for exclusion that does not comply with

all of the provisions set forth in the applicable Court approved notice of settlement and final

judgment to be disseminated to the members of the Settlement Class will be invalid, and the

person(s) or entity(ies) serving such an invalid request shall be deemed Settlement Class

Member(s) and shall be bound by the Agreement upon final approval.

       H.      Settlement Class Counsel's Attorneys' Fees And Reimbursement of Expenses.

       34.     Settlement Class Counsel may submit an application or applications to the

Court for payment of reasonable attorneys’ fees and reimbursement of reasonable expenses

(the “Fee and Expense Application”) for distribution to them from the Settlement Fund.

               (a)     Mitsubishi Electric agrees that it will take no position regarding such

application(s) for: (i) an award of attorneys’ fees not in excess of one-third of the Settlement

Fund; plus (ii) reimbursement of reasonable expenses and costs incurred, or to be incurred,

in connection with prosecuting the Action, plus interest on such attorneys’ fees, costs and

expenses at the same rate and for the same period as earned by the Settlement Fund (until

paid) as may be awarded by the Court (the “Fee and Expense Award”).

               (b)     Settlement Class Counsel shall allocate the attorneys’ fees among

Plaintiffs’ counsel in a manner which he in good faith believes reflects the contributions of

such counsel to the prosecution and settlement of the Action, provided that if a court rules

otherwise, Plaintiffs shall not have a right to rescind this Agreement based on that ruling.

Settlement Class Counsel reserves the right to make additional applications for fees and

expenses incurred, but in no event shall Mitsubishi Electric Releasees be responsible to pay

any such additional fees and expenses except to the extent they are paid out of the Settlement



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Fund. In addition, after final approval, Settlement Class Counsel may apply to use any

amount paid by Mitsubishi Electric to pay the past or future expenses of this litigation.

               (c)     The Fee and Expense Award, as approved by the Court, shall be paid

solely from the Settlement Fund to any Plaintiffs’ counsel seeking such payment within five

(5) court days after all of the following conditions have been met: (i) the Court has entered

an order awarding plaintiffs’ counsel its fees; (ii) such order has been provided to the Escrow

Agent; (iii) the irrevocable letter of credit or other security described below has been

provided to the Escrow Agent, Settlement Class Counsel and Mitsubishi Electric; and (iv)

each such Plaintiffs counsel’s law firm as a condition of receiving such fees, expenses and

costs, on behalf of itself and each partner and/or shareholder of it, agrees before receiving

funds that the law firm and its partners and/or shareholders are subject to the jurisdiction of

the Court for the purpose of enforcing this Paragraph 34. Each such Plaintiffs’ counsel as a

condition to the receipt of payment of fees from the Settlement Fund prior to this Agreement

becoming final as set forth in Paragraph 20 of this Agreement, shall deliver to the Escrow

Agent, Settlement Class Counsel and Mitsubishi Electric either an irrevocable letter of credit

or such other security as Mitsubishi Electric accepts in writing in advance of such payment.

The security described in this paragraph shall be in favor of both Mitsubishi Electric and of

the Settlement Fund.

                (d)    Settlement Class Counsel shall be responsible for providing adequate

notice of their aggregate fee request to the Settlement Class as required by Federal Rule of

Civil Procedure 23.

                (e)    For the avoidance of doubt, “Plaintiffs’ counsel” as used in this

Paragraph 34, shall include each attorney, sole practitioner and each law firm that receives

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attorneys’ fees or reimbursement of expenses from the Settlement Fund pursuant to

Paragraph 34 (c) together jointly and severally with such attorney’s law firm and all of their

equity partners or equity owners. Mitsubishi Electric shall be entitled to enforce Paragraph

34 (c) and such related written undertakings in the Court. For the further avoidance of

doubt, Mitsubishi Electric’s obligation to fund the Settlement Fund will not be altered or

increased if, for any reason, any Plaintiffs’ counsel fails to repay to the Settlement Fund any

sums due to be repaid pursuant to Paragraph 34.

               (f)     Nothing in Paragraph 34 shall require Plaintiffs’ counsel to accept

payment prior to this Agreement becoming final as defined in Paragraph 20, and Plaintiffs’

counsel may request the Escrow Agent to withhold payment until this Agreement is final.

Plaintiffs’ counsel may elect to receive partial payment of fees and of expenses. Plaintiffs’

counsel electing to receive payment prior to such finality shall be subject to the terms in

Paragraph 34 (c).

               (g)     In the event that settlement approval is reversed on appeal or any

portion of the Fee and Expense Award is vacated, reversed or reduced by the Court or on

appeal, any Plaintiffs’ counsel that received payments of any Fee and Expense Award that

are subject to elimination or reduction shall, within ten (10) court days after receiving notice

of the applicable court order, refund to the Settlement Fund the full amount of the Fee and

Expense Award previously paid to such counsel pursuant to this Paragraph 34, or, if the Fee

and Expense Award is reduced, a proportion of such full amount which shall be equal to the

proportion of the reduced Fee and Expense Award to the original awards.

               (h)     In the event such Plaintiffs’ counsel fails to make a full refund of the

applicable amount of expenses received under Paragraph 34 (c) within the 10-day period,

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such Plaintiffs’ counsel (and/or such attorney’s law firm and all of their equity partners or

equity owners) shall be liable to Mitsubishi Electric or, if applicable, the Settlement Fund.

In the event such Plaintiffs’ counsel fails to make a full refund of the applicable amount of

fees received under Paragraph 34 (c) within the 10-day period, Mitsubishi Electric or, if

applicable, the Settlement Fund shall have the right to execute on the security. In no event

shall any law firm be liable for repayment of any amounts received by any other law firm.

               (i)     The procedure for and the allowance or disallowance by the Court of

the application by Settlement Class Counsel for attorneys’ fees, costs and expenses to be

paid out of the Settlement Fund are not part of this Agreement, and are to be considered by

the Court separately from the Court’s consideration of the fairness, reasonableness and

adequacy of the Settlement, and any order or proceeding relating to the Fee and Expense

Application, or any appeal from any such order shall not operate to terminate or cancel this

Agreement, or affect or delay the finality of the judgment approving the settlement.

               (i)     Neither Mitsubishi Electric nor any other Mitsubishi Electric Releasee

under this Agreement shall have any responsibility for, or interest in, or liability whatsoever

with respect to any payment to Plaintiffs’ counsel of any Fee and Expense Award in the

MDL.

               (k)     Neither Mitsubishi Electric nor any other Mitsubishi Electric Releasee

under this Agreement shall have any responsibility for, or interest in, or liability whatsoever

with respect to the allocation among Plaintiffs’ counsel, and/or any other person who may

assert some claim thereto, of any Fee and Expense Award that the Court may make in the

MDL.



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       I.      Effect of Exclusions

       35.      Within ten (10) business days after the end of the period to request exclusion

from the Settlement Class, Settlement Class Counsel will cause copies of timely requests for

exclusion from the Settlement Class to be provided to counsel for Mitsubishi Electric. To

the extent that Mitsubishi Electric determines in good faith that the volume of commerce in

CRT Products attributable to purchasers who would otherwise be members of the Settlement

Class but who timely and validly requested exclusion from the Settlement Class equals or

exceeds ten percent (10%) of the total volume of commerce purchased by all Settlement

Class members during the Class Period, Mitsubishi Electric may terminate the Agreement

within thirty (30) days of receipt of the list of exclusions, pursuant to the procedure set forth

in Paragraph 36. For purposes of this calculation, purchases by those indirect purchasers that

excluded themselves from the Settlement Class will nonetheless be included in the total

volume of commerce. In addition, the indirect purchases of the Direct Action Plaintiffs that

separately sued Mitsubishi Electric will not be included in the volume of excluded

commerce or in the total volume of commerce.

        J.     Rescission if this Agreement is Not Approved. Final Judgment is Not
               Entered, or the Agreement is Terminated.

        36.    If the Court refuses to approve this Agreement or any part hereof, or if such

approval is modified or set aside on appeal, or if the Court does not enter the final judgment

provided for in Paragraphs 19 and 20 of this Agreement, or if the Court enters the final

judgment and appellate review is sought, and on such review, such final judgment is not

affirmed in its entirety, or the Agreement is terminated by Mitsubishi Electric pursuant to

Paragraph 35, then Mitsubishi Electric and Plaintiffs shall each, in their sole discretion, have

the option to rescind this Agreement in its entirety, except as provided in Paragraph 27 (a).
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Written notice of the exercise of any such right to rescind shall be made according to the

terms of Paragraph 48. A modification or reversal on appeal of any amount of Settlement

Class Counsel’s fees and expenses awarded by the Court from the Settlement Fund or the

plan of distribution of the Settlement Fund to Settlement Class members shall not be deemed

a modification of all or a part of the terms of this Agreement or such final judgment.

       37.     In the event that this Agreement does not become final pursuant to Paragraph

20, then the operative provisions of this Agreement shall be of no force or effect and any

Settlement Fund shall be returned forthwith to Mitsubishi Electric less only disbursements

already made in accordance with Paragraph 27 (a) of this Agreement. Plaintiffs expressly

reserve all their claims and Mitsubishi Electric expressly reserves all of its rights and

defenses if this Agreement does not become final within the meaning of Paragraph 20.

       38.     Plaintiffs and Mitsubishi Electric agree that this Agreement, whether or not it

shall become final, and any and all negotiations, documents, and discussions associated with

it, shall not be deemed or construed to be an admission or evidence of any violation of any

statute or law or of any liability or wrongdoing whatsoever by Mitsubishi Electric(or the

Mitsubishi Electric Releasees), or of the truth of any of the claims or allegations contained in

the Complaint or any other pleading filed in the MDL, or by any person or entity in any

other action, or of the propriety of any class alleged in the Complaint, and evidence thereof

shall not be discoverable or used directly or indirectly, in any way, whether in the MDL or in

any other action or proceeding.

        K.     Miscellaneous

        39.    Mitsubishi Electric, Plaintiffs, and Settlement Class Counsel agree not to

disclose publicly or to any other defendant in the MDL or third party the terms of this

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Agreement until this Agreement is submitted to the Court for approval. A party may disclose

the fact that it has settled the claims of the Settlement Class to the other parties in the MDL

upon execution of this Settlement Agreement by both parties but not the terms of the

settlement. The parties may, however, disclose the fact and amount of this Settlement to the

Court.

         40.   Mitsubishi Electric shall be responsible for effectuating the notice to

governmental officials called for by the Class Action Fairness Act.

         41.   This Agreement shall be construed and interpreted to effectuate the intent of

the parties, which is to provide, through this Agreement, for a complete resolution of the

relevant claims with respect to each Mitsubishi Electric Releasee as provided in this

Agreement.

         42.   This Agreement does not settle or compromise any claim by Plaintiffs or any

Settlement Class Member against any defendant or alleged co-conspirator other than the

Mitsubishi Electric Releasees. All rights against such other defendants or alleged co­

conspirators are specifically reserved by Plaintiffs and the Settlement Class. Mitsubishi

Electric sales to the Settlement Class shall not be removed from the MDL.

         43.   The Court shall retain jurisdiction, which shall be exclusive to the extent

permitted by law, over the implementation, enforcement, and performance of this

Agreement, and shall have exclusive jurisdiction over any suit, action, proceeding, or dispute

between the parties hereto arising out of or relating to this Agreement or the applicability of

this Agreement that cannot be resolved by negotiation and agreement by Plaintiffs and

Mitsubishi Electric. This Agreement shall be governed by and interpreted according to the



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substantive laws of the State of California without regard to its choice of law or conflict of

laws principles.

       44.     This Agreement constitutes the entire, complete and integrated agreement

among Plaintiffs and Mitsubishi Electric pertaining to the settlement of the Complaint

against Mitsubishi Electric, and supersedes all prior and contemporaneous undertakings of

Plaintiffs and Mitsubishi Electric in connection herewith. This Agreement may not be

modified or amended except in writing executed by Plaintiffs and Mitsubishi Electric, and

approved by the Court.

       45.     This Agreement shall be binding upon, and inure to the benefit of, the

successors and assigns of Plaintiffs and Mitsubishi Electric. Without limiting the generality

of the foregoing, each and every covenant and agreement made herein by Plaintiffs,

Settlement Class Counsel or Mitsubishi Electric shall be binding upon, respectively, all

Settlement Class Members, Releasors and Mitsubishi Electric. The Mitsubishi Electric

Releasees (other than Mitsubishi Electric which is a party hereto) are third party

beneficiaries of this Agreement and are authorized to enforce its terms applicable to them.

       46.     This Agreement may be executed in counterparts by Plaintiffs and Mitsubishi

Electric, and a facsimile signature shall be deemed an original signature for purposes of

executing this Agreement.

        47.    Neither Plaintiffs nor Mitsubishi Electric shall be considered to be the drafter

of this Agreement or any of its provisions for the purpose of any statute, case law, or rule of

interpretation or construction that would or might cause any provision to be construed

against the drafter of this Agreement.



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       48.       Where this Agreement requires either party to provide notice or any other

communication or document to the other, such notice shall be in writing, and such notice,

communication, or document shall be provided by email, facsimile or letter by overnight

delivery to the undersigned counsel of record for the party to whom notice is being provided.

       49.       With respect to any person or entity that timely exercises its right to be

excluded from the Settlement Class, Mitsubishi Electric reserves all its legal rights and

defenses, including, but not limited to, any defenses relating to whether the excluded person

or entity is an indirect purchaser of any allegedly price-fixed product and or has standing to

bring any claim including under any antitrust, unfair competition, or consumer protection

law.

       50.      Each of the undersigned attorneys represents that he or she is fully authorized

to enter into the terms and conditions of, and to execute, this Agreement, subject to Court

approval.



Dated: Octobe
                                       Mario N. Alioto
                                      malioto@tatp.com
                                      Joseph M. Patane
                                      jpatane@tatp.com
                                      Lauren C. Capurro
                                      laurenrussell@tatp.com
                                      TRUMP, ALIOTO,TRUMP & PRESCOTT LLP
                                      2280 Union Street
                                      San Francisco, CA 94123
                                      Telephone: (415) 563-7200

                                      Attorneys for Plaintiffs and Settlement Class
                                      Counsel



Dated: October        2017
                                              28
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       48.     Where this Agreement requires either party to provide notice or any other

communication or document to the other, such notice shall be in writing, and such notice,

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delivery to the undersigned counsel of record for the party to whom notice is being provided.

       49.     With respect to any person or entity that timely exercises its right to be

excluded from the Settlement Class, Mitsubishi Electric reserves all its legal rights and

defenses, including, but not limited to, any defenses relating to whether the excluded person

or entity is an indirect purchaser of any allegedly price-fixed product and or has standing to

bring any claim including under any antitrust, unfair competition, or consumer protection

law.

       50.     Each of the undersigned attorneys represents that he or she is fully authorized

to enter into the terms and conditions of, and to execute, this Agreement, subject to Court

approval.



Dated: October__, 2017
                                      Mario N. Alioto
                                      malioto@tatp.com
                                      Joseph M. Patane
                                      jpatane@tatp.com
                                      Lauren C. Capurro
                                      laurenrussell@tatp.com
                                      TRUMP, ALIOTO,TRUMP & PRESCOTT LLP
                                      2280 Union Street
                                       San Francisco, CA 94123
                                      Telephone: (415) 563-7200

                                      Attorneys for Plaintiffs and Settlement Class
                                      Counsel


                 /
Dated: October
               7< , 2017
Case 4:07-cv-05944-JST Document 6053-2 Filed 08/18/22 Page 50 of 91




                          Terrence J. Truax
                          ttruax@jenner.com
                          Michael T. Brody
                          mbrody@jenner.com
                          Gabriel A. Fuentes
                          gfuentes@jenner.com
                          JENNER & BLOCK LLP
                          353 N. Clark Street
                          Chicago, IL 60654
                          Telephone: (312)222-9350

                          Attorneys for Mitsubishi Electric Corporation




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     ADDENDUM TO SETTLEMENT AGREEMENT BETWEEN INDIRECT
   PURCHASER PLAINTIFFS AND MITSUBISHI ELECTRIC CORPORATION

        This Addendum to the Settlement Agreement dated October 25, 2017 (“Addendum”),

entered into by and between Mitsubishi Electric Corporation (“Mitsubishi Electric”) and the

indirect purchaser plaintiff class representatives (“Plaintiffs”), both individually and on behalf

of a proposed settlement class of indirect purchasers of Cathode Ray Tubes (CRTs) and CRT

Products (“the Settlement Class”) as more particularly described below, is made and entered

into this 15th day of February 2018.

       WHEREAS, Plaintiffs filed a class action complaint against Mitsubishi Electric (the

Complaint”) on their own behalf and on behalf of 31 indirect purchaser state classes, alleging

that Mitsubishi Electric participated in an unlawful conspiracy to raise, fix, maintain, or

stabilize the price of CRTs at artificially high levels in violation of various state antitrust.

unfair competition and consumer protection laws of the jurisdictions alleged in the Complaint;

       WHEREAS, the Complaint alleges violations of Missouri’s consumer protection

statute (Mo. Rev. Stat. §407.020) on behalf of a class of Missouri indirect purchasers who or

which, in accordance with the requirements of the Missouri statute, purchased CRTs or CRT

Products “primarily for personal, family, or household purposes.” Mo. Rev. Stat. §407.025,

Complaint H 244, 245, 277(a);

       WHEREAS, the Complaint alleges violations of Montana’s consumer protection

statute (Montana Code §30-14-103) on behalf of a class of Montana indirect purchasers who

or which, in accordance with the requirements of the Montana statute, purchased CRTs or
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CRT Products “primarily for personal, family, or household purposes.” Montana Code §§30-

14-102, 30-14-133, Complaint HI 244, 245, 278(a);

        WHEREAS, the Complaint alleges violations of Rhode Island’s consumer protection

statute (Rhode Island Gen. Laws § 6-13.1-1, et seq.) on behalf of a class of Rhode Island

natural persons who, in accordance with the requirements of the statute, indirectly purchased

CRTs or CRT Products “primarily for personal, family, or household purposes.” R.I. Gen.

Laws §6-13.1-5.2, Complaint IH 244, 245, 287(a);

        WHEREAS, after arms-length negotiations in which Mitsubishi Electric and Plaintiffs

were represented by counsel, and which included a mediation before U.S. Magistrate Judge

Jacqueline Scott Corley on May 23, 2017, the parties negotiated and entered into a Settlement

Agreement (“Agreement”) pursuant to which Plaintiffs agreed to release all of their claims

against Mitsubishi Electric in exchange for $33,000,000 in cash, which Agreement was

executed by all parties on October 25, 2017, and in which Mitsubishi Electric made no

admission of liability;

       WHEREAS, the parties have met and conferred and agree that it is necessary to

conform the definition of the Settlement Class in the Agreement to the requirements of the

Missouri, Montana, and Rhode Island consumer protection statutes, and the allegations of the

Complaint;

       NOW, THEREFORE, it is agreed by and among the undersigned on behalf of the

Mitsubishi Electric Releasees (as defined in Paragraph 6 of the Agreement) and Plaintiffs (as

defined in Paragraph 7 of the Agreement) that the definition of the Settlement Class contained

in Paragraph 10 of the Agreement is modified as follows:

       1.        'Settlement Class” shall mean:

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          a)      all persons or entities who or which indirectly purchased in an Indirect

   Purchaser Jurisdiction, other than Missouri, Montana, and Rhode Island, for their

   own use and not for resale, CRTs or CRT Products manufactured and/or sold hy any

   Mitsubishi Electric Releasee, or any Alleged Co-Conspirator, where such purchase

   took place during the following time periods:

                  1) From March 1, 1995 through November 25, 2007 for purchases in

                     Arizona, Arkansas, California, District of Columbia, Florida,

                     Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,

                     Mississippi, New Hampshire, New Mexico, New York, North

                     Carolina, North Dakota, Oregon, South Carolina, South Dakota,

                     Tennessee, Utah, Vermont, West Virginia, and Wisconsin;

                 2) From June 25, 2002 through November 25, 2007 for purchases in

                     Hawaii;

                 3) From July 20, 2002 through November 25, 2007 for purchases in

                     Nebraska;

                 4) From February 4, 1999 through November 25, 2007 for purchases

                     in Nevada;

          b)     All persons who or which indirectly purchased in Missouri from

   March 1, 1995 through November 25, 2007, for their own use and not for resale, and

   primarily for personal, family or household purposes, CRTs or CRT Products




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        manufactured and/or sold by any Mitsubishi Electric Releasee, or any Alleged Co-

        Conspirator;

                c)     All persons who or which indirectly purchased in Montana from

        March 1, 1995 through November 25, 2007, for their own use and not for resale, and

        primarily for personal, family, or household purposes, CRTs or CRT Products

        manufactured and/or sold by any Mitsubishi Electric Releasee, or any Alleged Co-

        Conspirator;

               d)      All natural persons who indirectly purchased in Rhode Island from

        March 1, 1995 through November 25, 2007, for their own use and not for resale, and

        primarily for personal, family, or household purposes, CRTs or CRT Products

        manufactured and/or sold hy any Mitsubishi Electric Releasee, or any Alleged Co-

        Conspirator;

               e)      specifically excluded from the Settlement Class are Mitsubishi

       Electric Releasees, Alleged Co-Conspirators, any federal, state or local government

       entities, and any judicial officer presiding over this action and the members of his/her

       immediate family and judicial staff.

       2.      Other than the foregoing modification to the definition of the Settlement

Class contained in Paragraph 10 of the Agreement, no other modification to the Agreement,

or to the rights and obligations of the parties to the Agreement, is made or intended herein in

this Addendum.




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       3.      Each of the undersigned attorneys represents that he or she is fully authorized

to enter into the terms and conditions of, and to execute, this Addendum, subject to Court

approval.

Dated: February__, 2018

                                     Mario N. Alioto
                                     malioto@tatp. com
                                     Joseph M. Patane
                                     jpatane@tatp.com
                                     Lauren C. Capurro
                                     laurenrussell@tatp. com
                                     TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
                                     2280 Union Street
                                     San Francisco, CA 94123
                                     Telephone: (415) 563-7200

                                     Attorneys for Plaintiffs and Settlement Class
                                     Counsel



Dated: February 15, 2018
                                     Terrene
                                     ttruax@j enner .'tig]
                                     Michael T. Brody
                                     mbrody@j enner.com
                                     Gabriel A. Fuentes
                                     gfuentes@j enner. com
                                     JENNER & BLOCK LLP
                                     353 N. Clark Street
                                     Chicago, IL 60654
                                     Telephone: (312)222-9350

                                     Attorneys for Mitsubishi Electric Corporation




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                  EXHIBIT B
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                     CONFIDENTIAL SETTLEMENT COMMUNICATION




                                          April 9, 2018

VIA E-MAIL

Jan L. Westfall
29896 Blue Water Way
Menifee, CA 92584
jlwestfall.esq@gmail.com

RE:    In re Cathode Ray (CRT) Antitrust Litigation
       Case No. 16-16374 in the United States Court of Appeals for the Ninth Circuit

Dear Ms. Westfall:

       This Letter Agreement (“Agreement”) concerns Appeal No. 16-16374 (“the Appeal”)

brought by objector Donnie Clifton (“Objector/Appellant”), and pending in the United States

Court of Appeals for the Ninth Circuit in the matter of In re: Cathode Ray Tube (CRT) Antitrust

Litigation (“the CRT Litigation Appeal”). This Agreement is made and entered into by and

between Objector/Appellant and his attorney, Jan Westfall, and Lead Counsel for Indirect Purchaser

Plaintiffs (“Lead Counsel”) in MDL No. 1917, Case No. 3:07-cv-05944-JST (“the CRT

Litigation”) (collectively the “Parties”). This Agreement memorializes the terms and conditions

under which the Appeal shall be finally and fully compromised, settled and released, and the Appeal

be dismissed with prejudice with no further adverse action taken, including objections filed or

appeals taken in either the CRT Litigation Appeal or in matters arising in or from the CRT




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                     CONFIDENTIAL SETTLEMENT COMMUNICATION



Litigation, including without limitation in the settlement of Luscher v. Mitsubishi Electric Corp.,

Case No. 17-cv-04067-JST, by Objector/Appellant or his counsel.

       Whereas the Parties have agreed to enter into this Agreement to avoid further expense,

inconvenience, and the distraction of burdensome and protracted litigation, and in consideration

of the covenants, agreements and releases set forth herein and for other good and valuable

consideration, the Parties agree as follows:

1.     Within two (2) business days of the last execution date of this Agreement (the “Execution
       Date”), the undersigned Counsel for Objector/Appellant shall file a dismissal in the form
       of Exhibit A attached hereto with the United States Court of Appeals for the Ninth Circuit
       to dismiss the Appeal with prejudice and without costs and expenses. The Parties
       acknowledge dismissal of the Appeal lies within the discretion of the court and this
       Agreement is not contingent on the court’s granting of the dismissal;

2.     Objector/Appellant hereby releases his claims in the CRT Litigation Appeal and the CRT
       Litigation on behalf of himself and his past and present employees, agents, attorneys,
       servants, representatives, affiliates, partners, insurers, and all other persons, partnerships
       or corporations with whom the former have been or are now affiliated; and the
       predecessors, successors, heirs, executives, administrators and assigns, as well as anyone
       claiming by, for or through Objector/Appellant or the foregoing. As stated above, neither
       Objector/Appellant nor his counsel will file any further objections or appeals in either the
       CRT Litigation Appeal or in matters arising in or from the CRT Litigation, including
       without limitation in the event of reversal and remand, or in the settlement of Luscher v.
       Mitsubishi Electric Corp., Case No. 17-cv-04067-JST;

3.     In consideration for dismissal of the Appeal and the release of all claims relating to the
       CRT Litigation, Lead Counsel shall pay Two Hundred and Twenty Five Thousand Dollars
       ($225,000.00) (the “Settlement Amount”) to Objector/Appellant. The Settlement
       Amount consists of the following three components: a Thirty Thousand Dollars ($30,000)
       service payment to Objector/Appellant; Three Thousand Dollars ($3,000) in costs; and One
       Hundred and Ninety Two Thousand Dollars ($192,000) in attorneys’ fees (the “Attorney
       Fee Amount”). Lead Counsel shall pay the Settlement Amount to Objector/Appellant via
       wire transfer pursuant to the instructions of Attorney Jan L. Westfall, at a time and under
       the conditions described below. Lead Counsel further agrees to release and forever hold
       harmless Objector/Appellant and his counsel from any and all claims or causes of action
       arising from either the objections or the proceedings in the district court in the CRT
       Litigation or arising in the course of the Appeal – whether presently known or unknown,
       vested or contingent, suspected or unsuspected, in law or in equity, up to the execution
       date;


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                   CONFIDENTIAL SETTLEMENT COMMUNICATION


4.    The payment of the Settlement Amount by Lead Counsel to Attorney Jan L. Westfall on
      behalf of Objector/Appellant will occur within ten (10) business days of the finality of all
      of the following:

         (a) the “Order Granting Final Approval of Indirect Purchaser Settlements” (the CRT
         Litigation, Dkt. No. 4712), or subsequent like order;

         (b) the “Order on Attorneys’ Fees, Expenses, and Incentive Awards Re: Indirect
         Purchaser Plaintiff Settlements” (the CRT Litigation, Dkt. No. 4740), or subsequent
         like order;


         (c) the “Order Re: Allocation of IPP Attorneys’ Fee Award” (the CRT Litigation, Dkt.
         No. 5122), or subsequent like order; and

         (d) the entry of a final order, if any, directing payment of funds to Class Counsel
         (collectively, “the Orders”).
5.    The Orders shall be determined to be Final by the occurrence of the first of the following
      events: (a) the dismissal of all pending appeals taken from any of the Orders; (b) a decision
      by the Court of Appeals in each of the then-pending cases in the CRT Litigation Appeal
      that affirms the District Court, and (i) the expiration of the period(s) for petitioning the
      United States Supreme Court to issue a writ of certiorari, or (ii) the denial of certiorari by
      the United States Supreme Court and of any petition for rehearing of such denial; or (c) a
      determination by the Supreme Court affirming the District Court, and the denial of any
      petition for rehearing that may be filed.

6.    In the event that the original Orders do not become Final, as defined above, and alternative
      orders and judgments are entered and ultimately become Final in the CRT Litigation, as set
      forth in paragraph 4, which orders provide for lower awards of attorneys’ fees or expenses,
      the payment to the Objector/Appellant under this agreement shall be made within ten (10)
      days from the finality of these alternative orders (as finality is defined in paragraph 4) and
      the entry of any necessary order directing payment of said awards, provided however that
      the payment to Objector/Appellant of the Attorney Fee Amount pursuant to this Agreement
      shall be reduced in proportion to any reduction that may have been made to the aggregate
      awarded attorneys’ fees and/or expense reimbursements. This reduction shall be computed
      by multiplying the Attorney Fee Amount by a fraction in which the reduced attorneys’ fees
      and/or expense award is the numerator and the original attorneys’ fees and/or expense
      award in the Orders is the denominator. That is, the Attorney Fee Amount paid to
      Objector/Appellant shall be reduced by the same percentage that the attorneys’ fees and/or
      expenses are reduced.

7.    The Parties shall be bound on the Execution Date by the terms of this Agreement and it
      shall not be rescinded.

8.    Lead Counsel shall cause a Form 1099 to be issued to attorney Jan L. Westfall for the
      Settlement Amount.
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                     CONFIDENTIAL SETTLEMENT COMMUNICATION



9.     Each attorney executing this Letter Agreement hereby warrants that such attorney has the
       full authority to do so.

10.    The provisions of this Agreement constitute the entire agreement between Lead Counsel
       and the Objector/Appellant, and no representations, warranties or inducements have been
       made to any person concerning the agreements referred to herein, other than those
       contained herein. Any prior agreements or understandings between the Parties hereto are
       integrated into this Agreement. No changes, amendments or modifications shall be made
       to this Agreement, except those that are in writing, identified as a change, amendment or
       modification to the agreements contained herein, and signed by all of the signatories to this
       Agreement.

11.    In addition to the releases set forth in paragraphs 2 and 3, the Parties further expressly
       waive and release, upon this Agreement becoming Final, any and all provisions, rights, and
       benefits conferred by Section 1542 of the California Civil Code, which states:

              CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE.          A
              GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
              CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
              FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
              BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
              SETTLEMENT WITH THE DEBTOR,
       or by any comparable law of any state or territory of the United States, or principle of
       common law. The Parties may hereafter discover facts other than or different from those
       which he knows or believes to be true with respect to the claims that are the subject matter
       of the releases contained herein, but the Parties hereby expressly waive and fully, finally,
       and forever settle and release, upon this Agreement becoming Final, any known or
       unknown, suspected or unsuspected, contingent or non-contingent claims with respect to
       the subject matter of the release, whether or not concealed or hidden, without regard to the
       subsequent discovery or existence of such different or additional facts.

12.    Neither this Agreement nor any and all negotiations, documents and discussions associated
       with them shall be deemed or construed to be an admission by Lead Counsel of the validity
       of any argument raised by Objector/Appellant, whether in the CRT Litigation, the CRT
       Litigation Appeal, or any other proceeding.

13.    This Agreement shall be construed and interpreted to effectuate the intent of the Parties,
       which is to provide, through this Agreement, for a complete resolution of the relevant
       claims as provided herein.

14.    This Agreement may be executed in one or more counterparts. A facsimile signature, PDF
       or JPG of a signature, or an electronic signature attested to by the signing party as authentic
       through email or other correspondence, shall be deemed an original signature for purposes



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                        EXHIBIT A
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                           Record No. 16-16374



                                 In The

         United States Court of Appeals
                       For the Ninth Circuit



In re : CATHODE RAY TUBE (CRT) ANTITRUST
               LITIGATION,

          INDIRECT PURCHASER PLAINTIFFS, ET AL.
                     Plaintiffs-Appellees

                                   v.

                TOSHSIBA CORPORATION, ET AL.
                     Defendant-Appellees

                       Objector Donnie Clifton,
                              Appellant
                     ___________________________

 On Appeal From The United States District Court For The Northern
        District Of California, Case No. 3:07-Cv-05944-JST


     APPELLANT’S MOTION TO VOLUNTARILY DISMISS APPEAL


                              Jan L. Westfall
                        29896 Blue Water Way
                           Menifee, CA 92584
                            Tel: 619.940.2880
                     Email : jlwestfall.esq@gmail.com

                   Counsel for Appellant Donnie Clifton
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      Pursuant to Federal Rule of Appellate Procedure 42(b), Appellant

Donnie Clifton hereby moves the Court for an order dismissing Appeal No. 16-

16374 with prejudice. This motion is limited to Appeal No. 16-16374 and

does not affect the pendency of the remaining appeals consolidated with this

appeal pursuant to the court’s order dated January 26, 2017 (i.e., Appeal Nos.

16-16368, 16-16371, 16-16373, 16-16377, 16-16378, 16-16379, 16-16395,

16-16399, 16-16400, and 16-16427). The ground for this motion is that

Appellant no longer desires to pursue this appeal.

      Appellees do not oppose the motion. The parties have agreed each shall

bear its own costs and fees.

                                          Dated: April [ ], 2018



                                          /s/ Jan L. Westfall
                                          Jan L. Westfall
                                          29896 Blue Water Way
                                          Menifee, CA 92584
                                          Tel: 619.940.2880
                                          jlwestfall.esq@gmail.com

                                          Counsel for Appellant Donnie Clifton
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, April [ ], 2018, I electronically filed the
foregoing APPELLANT’S MOTION TO VOLUNTARILY DISMISS APPEAL
via the electronic docketing system for the U.S. Court of Appeals for the Ninth
Circuit, thereby effecting service on all counsel of record.

                                               /s/Jan L. Westfal
                                               Jan L. Westfall
                                               29896 Blue Water Way
                                               Menifee, CA 92584
                                               Tel: 619.940.2880
                                               jlwestfall.esq@gmail.com

                                               Counsel for Appellant Donnie Clifton
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                  EXHIBIT C
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                  EXHIBIT D
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                     CONFIDENTIAL SETTLEMENT COMMUNICATION




                                          August 31, 2018

                                           VIA E-MAIL

George W. Cochran
Law Offices of George W. Cochran
1385 Russell Drive
Streetsboro, Ohio 44241
lawchrist@gmail.com

RE:    In re Cathode Ray (CRT) Antitrust Litigation

       Case No. 16-16377 in the United States Court of Appeals for the Ninth Circuit

Dear Mr. Cochran:

       This Letter Agreement (“Agreement”) concerns Appeal No. 16-16377 (“the Appeal”)

brought by objector Josie Saik (“Objector/Appellant”), and pending in the United States Court

of Appeals for the Ninth Circuit in the matter of In re: Cathode Ray Tube (CRT) Antitrust Litigation

(“the CRT Litigation Appeal”). This Agreement is made and entered into by and between

Objector/Appellant and Lead Counsel for Indirect Purchaser Plaintiffs (“Lead Counsel”) in MDL

No. 1917, Case No. 3:07-cv-05944-JST (“the CRT Litigation”) (collectively the “Parties”). This

Agreement memorializes the terms and conditions under which the Appeal shall be finally and

fully compromised, settled and released, and the Appeal be dismissed with prejudice with no

further adverse action taken, including objections filed or appeals taken in either the CRT Litigation

Appeal or in matters arising in or from the CRT Litigation, including without limitation in the



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settlement of Luscher v. Mitsubishi Electric Corp., Case No. 17-cv-04067-JST, by

Objector/Appellant or her counsel.

       Whereas the Parties have agreed to enter into this Agreement to avoid further expense,

inconvenience, and the distraction of burdensome and protracted litigation, and in consideration

of the covenants, agreements and releases set forth herein and for other good and valuable

consideration, the Parties agree as follows:

1.     Within two (2) business days of the last execution date of this Agreement (the “Execution
       Date”), the undersigned Counsel for Objector/Appellant shall file all necessary forms and
       papers with the United States Court of Appeals for the Ninth Circuit to dismiss the Appeal
       with prejudice and without costs and expenses;

2.     Objector/Appellant hereby releases her claims in the CRT Litigation Appeal and the CRT
       Litigation on behalf of herself and her past and present employees, agents, attorneys,
       servants, representatives, affiliates, partners, insurers, and all other persons, partnerships
       or corporations with whom the former have been or are now affiliated; and the
       predecessors, successors, heirs, executives, administrators and assigns, as well as anyone
       claiming by, for or through Objector/Appellant or the foregoing. As stated above,
       Objector/Appellant or her counsel will file no further objections or appeals in either the
       CRT Litigation Appeal or in matters arising in or from the CRT Litigation, including
       without limitation in the event of reversal and remand, or in the settlement of Luscher v.
       Mitsubishi Electric Corp., Case No. 17-cv-04067-JST;

3.     In consideration for dismissal of the Appeal and the release of all claims relating to the
       CRT Litigation, Lead Counsel shall pay Seventy-Five Thousand Dollars ($75,000.00)
       (the “Settlement Amount”) to Objector/Appellant via wire transfer pursuant to the
       instructions of Attorney George W. Cochran, at a time and under the conditions described
       below;

4.     The payment of the Settlement Amount by Lead Counsel to Attorney George W. Cochran
       on behalf of Objector/Appellant will occur within ten (10) business days of the finality of
       all of the following:

           (a) the “Order Granting Final Approval of Indirect Purchaser Settlements” (the CRT
           Litigation, Dkt. No. 4712), or subsequent like order;

           (b) the “Order on Attorneys’ Fees, Expenses, and Incentive Awards Re: Indirect
           Purchaser Plaintiff Settlements” (the CRT Litigation, Dkt. No. 4740), or subsequent
           like order;

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          (c) the “Order Re: Allocation of IPP Attorneys’ Fee Award” (the CRT Litigation, Dkt.
          No. 5122), or subsequent like order; and

          (d) the entry of a final order, if any, directing payment of funds to Class Counsel
          (collectively, “the Orders”).
5.     The Orders shall be determined to be Final by the occurrence of the first of the following
       events: (a) the dismissal of all pending appeals taken from any of the Orders; (b) a decision
       by the Court of Appeals in each of the then-pending cases in the CRT Litigation Appeal
       that affirms the District Court, and (i) the expiration of the period(s) for petitioning the
       United States Supreme Court to issue a writ of certiorari, or (ii) the denial of certiorari by
       the United States Supreme Court and of any petition for rehearing of such denial; or (c) a
       determination by the Supreme Court affirming the District Court, and the denial of any
       petition for rehearing that may be filed.

6.     In the event that the original Orders do not become Final, as defined above, and alternative
       orders and judgments are entered and ultimately become Final in the CRT Litigation, as set
       forth in paragraph 4, which orders provide for lower awards of attorneys’ fees or expenses,
       the payment to the Objector/Appellant under this agreement shall be made within ten (10)
       days from the finality of these alternative orders (as defined in paragraph 4) and the entry
       of any necessary order directing payment of said awards, provided however that the
       payment to Objector/Appellant pursuant to this Agreement shall be reduced in proportion
       to any reduction that may have been made to the aggregate awarded attorneys’ fees and/or
       expense reimbursements. This reduction shall be computed by multiplying the Settlement
       Amount by a fraction in which the reduced attorneys’ fees and/or expense award is the
       numerator and the original attorneys’ fees and/or expense award in the Orders is the
       denominator. That is, the Settlement Amount paid to Objector/Appellant shall be reduced
       by the same percentage that the attorneys’ fees and/or expenses are reduced.

7.     The Parties shall be bound on the Execution Date by the terms of this Agreement and it
       shall not be rescinded.

8.     Lead Counsel shall cause a Form 1099 to be issued to attorney George W. Cochran for the
       Settlement Amount.

9.     Each attorney executing this Letter Agreement hereby warrants that such attorney has the
       full authority to do so.

10.    The provisions of this Agreement constitute the entire agreement between Lead Counsel
       and the Objector/Appellant, and no representations, warranties or inducements have been
       made to any person concerning the agreements referred to herein, other than those
       contained herein. Any prior agreements or understandings between the Parties hereto are
       integrated into this Agreement. No changes, amendments or modifications shall be made
       to this Agreement, except those that are in writing, identified as a change, amendment or
       modification to the agreements contained herein, and signed by all of the signatories to this
       Agreement.


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11.    Objector/Appellant hereby expressly waives and releases, upon this Agreement becoming
       Final, any and all provisions, rights, and benefits conferred by Section 1542 of the
       California Civil Code, which states:

              CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE. A
              GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
              CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
              FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
              BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
              SETTLEMENT WITH THE DEBTOR,
       or by any comparable law of any state or territory of the United States, or principle of
       common law. Objector/Appellant may hereafter discover facts other than or different from
       those which she knows or believes to be true with respect to the claims that are the subject
       matter of her release, but Objector/Appellant hereby expressly waives and fully, finally,
       and forever settles and releases, upon this Agreement becoming Final, any known or
       unknown, suspected or unsuspected, contingent or non-contingent claims with respect to
       the subject matter of the release, whether or not concealed or hidden, without regard to the
       subsequent discovery or existence of such different or additional facts.

12.    Neither this Agreement nor any and all negotiations, documents and discussions associated
       with them shall be deemed or construed to be an admission by Lead Counsel of the validity
       of any argument raised by Objector/Appellant, whether in the CRT Litigation, the CRT
       Litigation Appeal, or any other proceeding.

13.    This Agreement shall be construed and interpreted to effectuate the intent of the Parties,
       which is to provide, through this Agreement, for a complete resolution of the relevant
       claims as provided herein.

14.    This Agreement may be executed in one or more counterparts. A facsimile signature, PDF
       or JPG of a signature, or an electronic signature attested to by the signing party as authentic
       through email or other correspondence, shall be deemed an original signature for purposes
       of executing this Agreement. All executed counterparts and each of them shall be deemed
       to be one and the same instrument.

15.    This Agreement is the product of negotiations and preparations by each party and his or
       her attorneys. Therefore, the Parties agree that neither Objector/Appellant nor Lead
       Counsel shall be considered the drafter of this Agreement or any of its provisions for the
       purpose of any statute, case law, or rule of interpretation or construction that would or
       might cause any provision to be construed against the drafter of this Agreement.

16.    Objector/Appellant acknowledges that, in executing this Agreement, she has had the
       opportunity to seek the advice of counsel and has read and understood all of the terms and
       provisions of this Agreement.




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17.      Pursuant to the Parties’ agreement, Ninth Circuit Rule 33-1, the rules and procedures of
         the Ninth Circuit Mediation Office, and Fed. R. Evid. 408, the provisions of this Agreement
         are highly confidential, as are all communications regarding this Agreement, including
         those concerning the negotiation of the terms and conditions embodied herein, and none of
         these provisions or communications may be shared or discussed in any way with anyone
         except: except: a signatory hereto; the Court (confidentially); persons designated by
         Lead Counsel; or as may be necessary in the enforcement of this Agreement.

18.      Any dispute arising under this Agreement shall be resolved by binding arbitration via ADR
         Services in San Francisco, California (“ADR Services”) under the Streamlined Arbitration
         Rules; and the parties hereto consent to the jurisdiction of ADR Services. This Agreement
         shall be governed and interpreted according to the substantive laws of the State of
         California without regard to its choice of law or conflict of laws principles.

19.      The Parties agree that the prevailing party to any dispute arising under this Agreement shall
         be entitled to all of their attorneys’ fees, costs, and expenses, including expert witness fees,
         from the non-prevailing party.


ON BEHALF OF LEAD COUNSEL:

Date:
                                                Timothy D. Battin
                                                Straus & Boies, LLP


Date:     08/30/2018
                                                George W. Cochran
                                                Law Offices of George W. Cochran


Date:
                                                Objector/Appellant Josie Saik




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                     CONFIDENTIAL SETTLEMENT COMMUNICATION




                                           April 3, 2018

VIA E-MAIL

Christopher A. Bandas
Robert W. Clore
BANDAS LAW FIRM, P.C.
500 N. Shoreline Boulevard
Suite 1020
Corpus Christi, Texas 78418
cbandas@bandaslawfirm.com
rclore@bandaslawfirm.com

RE:    In re Cathode Ray (CRT) Antitrust Litigation
       Case No. 16-16371 in the United States Court of Appeals for the Ninth Circuit

Dear Mr. Bandas:

       This Letter Agreement (“Agreement”) concerns Appeal No. 16-16371 (“the Appeal”)

brought by objector Sean Hull (“Objector/Appellant”), and pending in the United States Court of

Appeals for the Ninth Circuit in the matter of In re: Cathode Ray Tube (CRT) Antitrust Litigation

(“the CRT Litigation Appeal”). This Agreement is made and entered into by and between

Objector/Appellant and Lead Counsel for Indirect Purchaser Plaintiffs (“Lead Counsel”) in MDL

No. 1917, Case No. 3:07-cv-05944-JST (“the CRT Litigation”) (collectively the “Parties”). This

Agreement memorializes the terms and conditions under which the Appeal shall be finally and

fully compromised, settled and released, and the Appeal be dismissed with prejudice with no

further adverse action taken, including objections filed or appeals taken in either the CRT Litigation



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Appeal or in matters arising in or from the CRT Litigation, including without limitation in the

settlement of Luscher v. Mitsubishi Electric Corp., Case No. 17-cv-04067-JST, by

Objector/Appellant or his counsel.

       Whereas the Parties have agreed to enter into this Agreement to avoid further expense,

inconvenience, and the distraction of burdensome and protracted litigation, and in consideration

of the covenants, agreements and releases set forth herein and for other good and valuable

consideration, the Parties agree as follows:

1.     Within two (2) business days of the last execution date of this Agreement (the “Execution
       Date”), the undersigned Counsel for Objector/Appellant shall file all necessary forms and
       papers with the United States Court of Appeals for the Ninth Circuit to dismiss the Appeal
       with prejudice and without costs and expenses;

2.     Objector/Appellant hereby releases his claims in the CRT Litigation Appeal and the CRT
       Litigation on behalf of himself and his past and present employees, agents, attorneys,
       servants, representatives, affiliates, partners, insurers, and all other persons, partnerships
       or corporations with whom the former have been or are now affiliated; and the
       predecessors, successors, heirs, executives, administrators and assigns, as well as anyone
       claiming by, for or through Objector/Appellant or the foregoing. As stated above,
       Objector/Appellant or his counsel will file no further objections or appeals in either the
       CRT Litigation Appeal or in matters arising in or from the CRT Litigation, including
       without limitation in the event of reversal and remand, or in the settlement of Luscher v.
       Mitsubishi Electric Corp., Case No. 17-cv-04067-JST;

3.     In consideration for dismissal of the Appeal and the release of all claims relating to the
       CRT Litigation, Lead Counsel shall pay Two Hundred and Twenty Five Thousand Dollars
       ($225,000.00) (the “Settlement Amount”) to Objector/Appellant via wire transfer
       pursuant to the instructions of Attorney Christopher A. Bandas, at a time and under the
       conditions described below;

4.     The payment of the Settlement Amount by Lead Counsel to Attorney Christopher A.
       Bandas on behalf of Objector/Appellant will occur within ten (10) business days of the
       finality of all of the following:

           (a) the “Order Granting Final Approval of Indirect Purchaser Settlements” (the CRT
           Litigation, Dkt. No. 4712), or subsequent like order;




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          (b) the “Order on Attorneys’ Fees, Expenses, and Incentive Awards Re: Indirect
          Purchaser Plaintiff Settlements” (the CRT Litigation, Dkt. No. 4740), or subsequent
          like order;


          (c) the “Order Re: Allocation of IPP Attorneys’ Fee Award” (the CRT Litigation, Dkt.
          No. 5122), or subsequent like order; and

          (d) the entry of a final order, if any, directing payment of funds to Class Counsel
          (collectively, “the Orders”).
5.     The Orders shall be determined to be Final by the occurrence of the first of the following
       events: (a) the dismissal of all pending appeals taken from any of the Orders; (b) a decision
       by the Court of Appeals in each of the then-pending cases in the CRT Litigation Appeal
       that affirms the District Court, and (i) the expiration of the period(s) for petitioning the
       United States Supreme Court to issue a writ of certiorari, or (ii) the denial of certiorari by
       the United States Supreme Court and of any petition for rehearing of such denial; or (c) a
       determination by the Supreme Court affirming the District Court, and the denial of any
       petition for rehearing that may be filed.

6.     In the event that the original Orders do not become Final, as defined above, and alternative
       orders and judgments are entered and ultimately become Final in the CRT Litigation, as set
       forth in paragraph 4, which orders provide for lower awards of attorneys’ fees or expenses,
       the payment to the Objector/Appellant under this agreement shall be made within ten (10)
       days from the finality of these alternative orders (as defined in paragraph 4) and the entry
       of any necessary order directing payment of said awards, provided however that the
       payment to Objector/Appellant pursuant to this Agreement shall be reduced in proportion
       to any reduction that may have been made to the aggregate awarded attorneys’ fees and/or
       expense reimbursements. This reduction shall be computed by multiplying the Settlement
       Amount by a fraction in which the reduced attorneys’ fees and/or expense award is the
       numerator and the original attorneys’ fees and/or expense award in the Orders is the
       denominator. That is, the Settlement Amount paid to Objector/Appellant shall be reduced
       by the same percentage that the attorneys’ fees and/or expenses are reduced.

7.     The Parties shall be bound on the Execution Date by the terms of this Agreement and it
       shall not be rescinded.

8.     Lead Counsel shall cause a Form 1099 to be issued to attorney Christopher A. Bandas for
       the Settlement Amount.

9.     Each attorney executing this Letter Agreement hereby warrants that such attorney has the
       full authority to do so.

10.    The provisions of this Agreement constitute the entire agreement between Lead Counsel
       and the Objector/Appellant, and no representations, warranties or inducements have been
       made to any person concerning the agreements referred to herein, other than those
       contained herein. Any prior agreements or understandings between the Parties hereto are

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       integrated into this Agreement. No changes, amendments or modifications shall be made
       to this Agreement, except those that are in writing, identified as a change, amendment or
       modification to the agreements contained herein, and signed by all of the signatories to this
       Agreement.

11.    Objector/Appellant hereby expressly waives and releases, upon this Agreement becoming
       Final, any and all provisions, rights, and benefits conferred by Section 1532 of the
       California Civil Code, which states:

              CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE.          A
              GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
              CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
              FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
              BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS OR HER
              SETTLEMENT WITH THE DEBTOR,
       or by any comparable law of any state or territory of the United States, or principle of
       common law. Objector/Appellant may hereafter discover facts other than or different from
       those which he knows or believes to be true with respect to the claims that are the subject
       matter of his release, but Objector/Appellant hereby expressly waives and fully, finally,
       and forever settles and releases, upon this Agreement becoming Final, any known or
       unknown, suspected or unsuspected, contingent or non-contingent claims with respect to
       the subject matter of the release, whether or not concealed or hidden, without regard to the
       subsequent discovery or existence of such different or additional facts.

12.    Neither this Agreement nor any and all negotiations, documents and discussions associated
       with them shall be deemed or construed to be an admission by Lead Counsel of the validity
       of any argument raised by Objector/Appellant, whether in the CRT Litigation, the CRT
       Litigation Appeal, or any other proceeding.

13.    This Agreement shall be construed and interpreted to effectuate the intent of the Parties,
       which is to provide, through this Agreement, for a complete resolution of the relevant
       claims as provided herein.

14.    This Agreement may be executed in one or more counterparts. A facsimile signature, PDF
       or JPG of a signature, or an electronic signature attested to by the signing party as authentic
       through email or other correspondence, shall be deemed an original signature for purposes
       of executing this Agreement. All executed counterparts and each of them shall be deemed
       to be one and the same instrument.

15.    This Agreement is the product of negotiations and preparations by each party and his or
       her attorneys. Therefore, the Parties agree that neither Objector/Appellant nor Lead
       Counsel shall be considered the drafter of this Agreement or any of its provisions for the
       purpose of any statute, case law, or rule of interpretation or construction that would or
       might cause any provision to be construed against the drafter of this Agreement.



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16.      Objector/Appellant acknowledges that, in executing this Agreement, he has had the
         opportunity to seek the advice of counsel and has read and understood all of the terms and
         provisions of this Agreement.

17.      Pursuant to the Parties’ agreement, Ninth Circuit Rule 33-1, the rules and procedures of
         the Ninth Circuit Mediation Office, and Fed. R. Evid. 408, the provisions of this Agreement
         are highly confidential, as are all communications regarding this Agreement, including
         those concerning the negotiation of the terms and conditions embodied herein, and none of
         these provisions or communications may be shared or discussed in any way with anyone
         except: a signatory hereto; the Court; persons designated by Lead Counsel; or as may be
         necessary in the enforcement of this Agreement.

18.      Any dispute arising under this Agreement shall be resolved by binding arbitration via ADR
         Services in San Francisco, California (“ADR Services”) under the Streamlined Arbitration
         Rules; and the parties hereto consent to the jurisdiction of ADR Services. This Agreement
         shall be governed and interpreted according to the substantive laws of the State of
         California without regard to its choice of law or conflict of laws principles.

19.      The Parties agree that the prevailing party to any dispute arising under this Agreement shall
         be entitled to all of their attorneys’ fees, costs, and expenses, including expert witness fees,
         from the non-prevailing party.


ON BEHALF OF LEAD COUNSEL:
Date:                                           __________________________________
                                                Timothy D. Battin
                                                Straus & Boies, LLP


Date: April 4, 2018                             _________________________________
                                                Christopher A. Bandas
                                                Bandas Law Firm, P.C.


Date:                                           _________________________________
                                                Robert W. Clore
                                                Bandas Law Firm, P.C.


Date:                                           _________________________________
                                                Objector/Appellant Sean Hull




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